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                           WHITE EARTH BAND OF OJIBWE
                                IN TRIBAL COURT

MANOOMIN; THE WHITE EARTH
BAND OF OJIBWE; MICHAEL
FAIRBANKS; LEONARD ‘ALAN’ ROY;
RAYMOND AUGINAUSH; KATHY
GOODWIN; CHERYL ‘ANNIE’
JACKSON; TODD JEREMY THOMPSON;
DAWN GOODWIN; NANCY BEAULIEU;
WINONA LADUKE; PATRICIA ‘ALEX
GOLDEN-WOLF’ OSUNA; JUSTIN
KEEZER; TANIA AUBID; SIMONE
SENOGLES; GINA (PELTIER) EELE;
TARA WIDNER; TARA HOUSKA;
JAMIE “JAIKE SPOTTED-WOLF”
WORTHINGTON and other tribal members
and Water Protectors similarly situated, and         Civil Case No. __________
SHANAI MATTESON and ALLEN
RICHARDSON invited non-Indian guests
and Water Protectors similarly situated,
                      Plaintiffs
 v.

MINNESOTA DEPT of NATURAL
RESOURCES (DNR); COMMISSIONER                             COMPLAINT
SARAH STROMMEN; RANDALL
DODEEN DNR, EWR CAR SECTION                                      for
MANAGER (Ecological and Water
Resources Conservation Assistance and            Declaratory and Injunctive Relief
Regulation Section Manager), and BARB
NARAMORE, DEPUTY
COMMISSIONER, DNR
CONSERVATION OFFICERS (arresting or
threatening tribal water protectors) JOHN
DOES? (1 -10),
                       Defendants.


________________________________________________________________________

                                    Introduction
       Manoomin (Wild Rice), the food that grows on water, is the most important

cultural and sacred food of the Chippewa, Ojibwe, Anishinabe peoples. Manoomin has
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been a part of our traditional stories, teachings, lifeways and spirituality since the earliest

times to the present day. For the Chippewa Manoomin is alive like all living creatures

and they are our relations. We Chippewa have a sacred covenant with Manoomin and the

water (Nibi) and all living creatures, without which we cannot live.

       Manoomin’s story is revealed as part of our migration story and the Seven Fires

Prophecy which tells of the westward migration from the Atlantic coast, through the

Great Lakes to our current homelands and territories of the Chippewas of the Mississippi.

Birch scroll maps show the waterways and portages of the route from old Fond du Lac to

the homelands of the Chippewas of the Mississippi at Sandy Lake and Leech Lake. At

the center of the map is old Fond du Lac1 (now Jay Cook state park) next to the major

landmark peninsula now Park Point Duluth on Lake Superior.




For the Chippewa, Manoomin is a gift from the Creator and because of this spiritual

connection and relationship with Manoomin the Chippewas expressly reserved the right


1
  Old Fond du Lac was originally located near the mouth of the now St. Louis River freshwater
estuary of Lake Superior. Old Fond du Lac is the meeting location of 1826 Ratification Treaty
https://www.firstpeople.us/FP-Html-Treaties/TreatyWithTheChippewa1826.html (of 1825
Treaty) with the United States. This is the site of a major Chippewa Indian settlement from the
sixteenth through the nineteenth centuries and is situated on the early canoe route along the St.
Louis River from Lake Superior to Lake Vermillion and the Upper Mississippi. See historical
marker https://www.hmdb.org/m.asp?m=43723 The 1825 Treaty included a dozen tribes.

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to gather wild rice in the 1837 Treaty2 with the United States. Manoomin is our primary

treaty food, along with fish and maple. From time immemorial the wild rice crop of the

waters of the now states of Minnesota, Wisconsin and Canada has been a vital factor to

the sustenance and the continued existence of the Indian race in the territory.3

       WILD RICE, OR MANOOMIN, IS CENTRAL TO OJIBWE CULTURAL
       IDENTITY, SPIRITUAL TRADITIONS, AND PHYSICAL WELL-
       BEING. IT IS AN IMPORTANT SPECIES TO THE ECOLOGY OF
       MINNESOTA’S LAKES AND RIVERS AND PROVIDES CRITICAL
       FOOD AND HABITAT TO BOTH ENDEMIC AND MIGRATORY
       SPECIES.4

Manoomin, fish and maple are the primary treaty foods of the Chippewa, all of

which depends on clean, abundant fresh waters and which important and essential

natural ecosystem resources have been under constant threat from Minnesota

permitting agencies inability or unwillingness to protect or work with affected

tribes.5


2
  See Article 5 of the 1837 treaty provides, "The privilege of hunting, fishing, and gathering the
wild rice, upon the lands, the rivers, and the lakes included in the territory ceded, is guarantied to
the Indians, during the pleasure of the President of the United States." Treaty with the Chippewa,
July 29, 1837, art. 5, 7 Stat. 536 ("1837 Treaty").
https://glifwc.org/TreatyRights/TreatyChippewa07291837Web.pdf
3
  See Minn. Stat. 84.09 Conservation of wild rice, adopted 1939, repealed 1996.
4
  See The Food that Grows out of the Water, The Economic Benefits of Wild Rice in Minnesota,
Earth Economics 2018, by Angela Fletcher, Olivia Dooley, Johnny Mojica, and Jessie Martin,
Executive Summary page 3. WQSWildRiceBenefits.pdf (fdlrez.com) (Thanks to all who
supported this project: Nancy Schuldt and Thomas Howes of the Fond du Lac Band of Lake
Superior Chippewa; James Thannum and Peter David of the Great Lakes Indian Fish and
Wildlife Commission; Darren Vogt of the 1854 Treaty Authority; Kathleen Williams of the
Environmental Protection Agency; Kristin Raab of the Minnesota Department of Health; Maya
Kocian, Cyrus Philbrick, Matt Chadsey, Ruby Ellis, and Marvin Termin of Earth Economics.)
5
  See The Wild Rice Mystique: Resource Management and American Indians' Rights as a
Problem of Law and Culture, William Mitchell Law Review, Vol. 10, p. 743, 1984, by Charlene
L. Smit, Washburn University - School of Law, and Howard J. Vogel, Hamline University -

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       In U.S. v. Brown6, the Eighth Circuit re-affirmed that

       When seeking to determine the meaning of Indian treaties, "we look
       beyond the written words to the larger context that frames the Treaty,
       including the history of the treaty, the negotiations, and the practical
       construction adopted by the parties." Mille Lacs Band, 526 U.S. at 196
       (quotation omitted). We interpret such treaties liberally, resolving
       uncertainties in favor of the Indians, and we "give effect to the terms as
       the Indians themselves would have understood them." Id. at 196, 200.

As such, the panel considered the Treaty Journals noting that

       In July 1837, over one thousand Chippewa Indians gathered at Fort
       Snelling while their chiefs negotiated with Wisconsin Territorial
       Governor Henry Dodge who represented the United States. Documents
       Related to the Negotiation of the Treaty of July 29, 1837, reprinted in
       Satz, Chippewa Treaty Rights 131-153, at 131 ("1837 Treaty Journal").
       The United States sought to purchase land east of the Mississippi River
       in present day central Minnesota and Wisconsin because of its desirable
       pine timber. Id. at 131-32, 140.

       During these negotiations, the Chippewa chiefs emphasized the
       importance of reserving their rights to fish, hunt, and gather on the
       land, also called usufructuary rights. According to the treaty journal,
       Ma-ghe-ga-bo stated, "Of all the country that we grant to you we wish
       to hold on to a tree where we get our living, & to reserve the streams
       where we drink the waters that give us life." 1837 Treaty Journal at
       142. The secretary who recorded the proceedings noted that he
       transcribed the statement as provided by the underqualified interpreters,
       but he "presume[d] it to mean that the Indians wish to reserve the
       privilege of hunting & fishing on the lands and making sugar from the
       Maple." Id.



School of Law (Abstract-This article posits that the current controversy concerning wild rice is
best understood as a clash between the traditional Ojibway culture and the culture of the
European settlers. It provides an extensive historical and scientific background for this thesis. In
doing so it provides a critique of regulation of the wild rice harvest in the State of Minnesota and
concludes with suggestions for improved wild rice resource management in Minnesota.)
https://open.mitchellhamline.edu/wmlr/vol10/iss4/6/
6
  See https://turtletalk.files.wordpress.com/2016/09/8th-circuit-opinion-upheld-square-hook-
chippewa-treaty-rights-2-10-2015.pdf U.S. v Brown et al.

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And the Minnesota District Court for U.S. v Brown7 considered the same Treaty Journals

and cited

       Chippewa leader Hole in the Day stated: “My father, in all the country we
       sell you, we wish to hold on to that which gives us life – the streams and
       lakes where we fish, and the trees from which we make sugar.” Henry
       Dodge, Proceedings of a Council with the Chippewa Indians, 9 Iowa J.
       Hist. & Pol. 408, 424 (1911). Governor Henry Dodge of Wisconsin
       Territory, which in 1837 included all of the future State of Minnesota, later
       responded that “I will agree that you shall have the free use of the rivers
       and the privilege of hunting on the lands you are to sell, during the pleasure
       of your great father.” Id. at 427. Another Chippewa leader, Flat Mouth, a
       chief from Leech Lake, stated:
            Your children are willing to let you have their lands, but wish to
            reserve the privilege of making sugar from the trees, and getting
            their living from the lakes and rivers as they have heretofore done,
            and of remaining in the country. It is hard to give up the land. It
            will remain and cannot be destroyed, but you may cut down the
            trees, and others will grow up. You know we cannot live deprived
            of lakes and rivers.
       Id. at 428. Governor Dodge responded to this: “My friends, I have listened
       with great attention to your chiefs from Leech Lake. I will make known to
       your great father your request to be permitted to make sugar on the lands,
       and you will be allowed during his pleasure to hunt and fish on them.” Id.
       at 429.

Here, the Treaty Journals reveal our Chippewa understandings about usufructuary

property rights across all the lands and waters being ceded and yet to be ceded8 and held

in common by the Chippewas of the Mississippi and Lake Superior, as described in the
7
  See MEMORANDUM OPINON AND ORDER REJECTING THE REPORTS AND
RECOMMENDATIONS OF THE MAGISTRATE JUDGE, 11/25/2013, U.S. v. Brown Criminal
No. 13-68 (JRT/LIB), https://anishinaabeperspectives.weebly.com/blog/us-court-decision-
regarding-leech-lake-usufructuary-treaty-rights Similar decisions dismissing Chippewa at Red
Lake and White Earth Netters after Operation SquareHook fiasco by DNR charging on and off
reservation Indians (with U.S. Fish & Wildlife) for selling fish on and off reservations.
8
  See https://scholarship.law.umn.edu/cgi/viewcontent.cgi?article=1222&context=lawineq
Minnesota v. Mille Lacs Band of Chippewa: 19th Century U.S., Treaty Guaranteed Usufructuary
Property Rights, the Foundation for 21st Century Indigenous Sovereignty, by Peter Erlinder.
June 2015, Minnesota Journal of Law & Inequality, Volume 33 Issue 1 Article 3.

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1842 Treaty with the Chippewa9. Chippewa treaty-reserved usufructuary property rights

are exclusive10 from the State of Minnesota and the United States, and thus requires

consent from the Chippewa.

       The White Earth Band of Ojibwe together with the Minnesota Chippewa Tribe

(MCT) and Honor the Earth11 developed the Anishinabe Cumulative Impact Assessment

(ACIA)12 in 2018 (and e-filed the entire ACIA onto the Minnesota Public Utilities

Commission’s Line 3 e-docket)13 as part of the PUC’s Environmental Impact Statement

(EIS) for Line 3 tar sands, crude oil pipeline. The ACIA agrees with the United States,

the other party to 44 treaties with Chippewa, that climate change is our biggest national

security threat explaining in 2014 that

       The responsibility of the Department of Defense is the security of our
       country. That requires thinking ahead and planning for a wide range of
       contingencies.

       Among the future trends that will impact our national security is climate
       change. Rising global temperatures, changing precipitation patterns,
       climbing sea levels, and more extreme weather events will intensify the
       challenges of global instability, hunger, poverty, and conflict. They will
       likely lead to food and water shortages, pandemic disease, disputes over

9
  See https://glifwc.org/TreatyRights/TreatyChippewa10041842Web.pdf
10
   See U.S. v Brown (Mn Dist) FN 7, citing U.S. v Dion “As a general matter, ‘Indians enjoy
exclusive treaty rights to hunt and fish on lands reserved to them, unless such rights were clearly
relinquished by treaty or have been modified by Congress.’ Dion, 476 U.S. at 738. These fishing
rights are held individually by Defendants, as treaty rights can be asserted by individual tribe
members.” Id. at 738 n.4.
11
   See https://www.honorearth.org/ a native-led environmental organization based on White
Earth Reservation
12
   https://www.mnchippewatribe.org/impact_assessment.html
13
   See PUC e-docket Feb. 26, 2018 for Enbridge 15-137 Line 3, see ten (10) documents 20182-
140455-01 through 20182-140455-10.
https://www.edockets.state.mn.us/EFiling/edockets/searchDocuments.do?method=showPoup&d
ocumentId={9080D261-0000-CB10-9584-1E2E901BC5B7}&documentTitle=20182-140455-01

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       refugees and resources, and destruction by natural disasters in regions
       across the globe.

       In our defense strategy, we refer to climate change as a “threat multiplier”
       because it has the potential to exacerbate many of the challenges we are
       dealing with today – from infectious disease to terrorism. We are already
       beginning to see some of these impacts.

See Department of Defense FY 2014 Climate Change Adaptation Roadmap.14 Today,

all of the possible impacts described in the 2014 DOD report above are already reality

and happening in the state of Minnesota, the U.S. and the World.

       Most recently, the Minnesota Department of Natural Resources (DNR) has

abruptly, unilaterally and without formal notice to tribal leaders (quasi-secretly), and

without Chippewa consent, granted Enbridge Line 3 project an increase of approximately

5 billion gallons of public ground and surface water, for horizontal drilling under rivers

and other waterways of the upper Mississippi watershed. The Band and other Chippewas

have been attempting to protect Manoomin and our fresh water resources by engaging,

albeit unsuccessfully, in direct dialog with DNR to rescind the 5B water permit, and by

establishing treaty camps for Water Protectors. Chippewa Water Protectors have been

arrested and charged for trespass under state criminalization of civil rights and laws, for

defending our usufructuary properties and fresh clean waters to support the Rights of




14
 See Department of Defense FY 2014 Climate Change Adaptation Roadmap prepared under
DOD Secretary Hagel, https://www.acq.osd.mil/eie/Downloads/CCARprint_wForward_e.pdf

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Manoomin and for all living creatures whose lives depend on an abundant quantity of

clean pristine high quality, fresh water resources.15

       “We trust the United States Forest Service to ‘speak for the trees, for the trees

have no tongues.’ Dr. Seuss, The Lorax (1971).”16 In 2018, in a slightly different

petroleum pipeline story a Fourth Circuit federal court judge noted that

       A thorough review of the record leads to the necessary conclusion that the
       Forest Service abdicated its responsibility to preserve national forest
       resources. This conclusion is particularly informed by the Forest Service’s
       serious environmental concerns that were suddenly, and mysteriously,
       assuaged in time to meet a private pipeline company’s deadlines.

(Emphasis added).

       Here and now, it’s the DNR abdicating its responsibilities to the public’s interest,

suddenly and mysteriously, and the DNR is failing to protect freshwater resources for

Manoomin and the rest of Nature’s creations, with callous disregard for the Rights of




15
   See White Earth Nation and 1855 Treaty Authority Pass Laws to Protect the “Rights of
Manoomin” Jan. 14, 2019 https://www.stopline3.org/news/rightsofmanoomin
16
   See Sierra Club et al v U.S. Forest Service et al, Atlantic Coast Pipeline, LLC, Intervenor, (4th
Cir. No. 18-1144) On Petition for Review of a Decision of the United States Forest Service order
by the Honorable Circuit Judge Thacker: See USCA4 Appeal: 18-1144 Doc: 104 Filed:
12/13/2018 Pg: 60 of 60, Part IV, Petition for Review Granted, Vacated and Remanded.
https://www.southernenvironment.org/uploads/words_docs/ACP_USFS_opinion.pdf (We trust
the United States Forest Service to “speak for the trees, for the trees have no tongues.” Dr. Seuss,
The Lorax (1971). A thorough review of the record leads to the necessary conclusion that the
Forest Service abdicated its responsibility to preserve national forest resources. This conclusion
is particularly informed by the Forest Service’s serious environmental concerns that were
suddenly, and mysteriously, assuaged in time to meet a private pipeline company’s deadlines.
Accordingly, for the reasons set forth herein, we grant the petition to review the Forest Service’s
Record of Decision and Special Use Permit, vacate the Forest Service’s decisions, and remand to
the Forest Service for proceedings consistent with this opinion.)

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Nature17, Rights of Manoomin and Rights of the Chippewas reserved by a series of 44

Treaties with the United States, simply to enable and facilitate climate change threats for

a different, foreign, tar sands crude oil pipeline called Line 3 Replacement.18 DNR state

oppression, and imperialism fosters and enforces cultural genocide in Minnesota.19

       The Chippewas have pre-existing usufructuary and water property rights that have

been intentionally and systematically ignored and suppressed by the state and particularly

the DNR with other law enforcement for profit.20 The 2020 Minnesota Legislature has

severely criminalized citizens’ civil rights to travel, the right to assemble, free speech and

other civil remedies used to defend public and private property rights and interests. DNR

and local law enforcement are violating Chippewa federally protected civil rights of

Water Protectors at Shell River21, Giniw22, Firelight23, Treaty People Gathering24,

17
   See Global Alliance for the Right of Nature https://www.therightsofnature.org/ and see also
Center for Environmental and Democratic Rights https://www.centerforenvironmentalrights.org/
18
   See On Nature column: Pursuit of oil continues to destroy land, water. Song remains the
same! By Eliot Reed, For The Herald Bulletin, Jul 31, 2021. (Today, more than 250 water
protectors and other protestors have been arrested. Former 1996 and 2000 Vice Presidential
candidate Winona LaDuke (Green Party) of the White Earth Ojibwe Nation was one of the water
protectors jailed.
Multinational companies continue their race for profits as the climate crisis relentlessly threatens
all of humanity. Regardless of whether Obama, Trump or Biden is president, the song remains
the same.) https://www.heraldbulletin.com/opinion/columns/on-nature-column-pursuit-of-oil-
continues-to-destroy-land-water/article_fbf829f0-f08b-11eb-9c7e-6bd21fc94f7a.html
19
   See 'It's cultural genocide': inside the fight to stop a pipeline on tribal lands, The Line 3 route
traverses land that Native American pipeline opponents say is protected by US treaties with
Ojibwe nations, by Sheila Regan in Minnesota https://www.theguardian.com/us-
news/2021/feb/19/line-3-pipeline-ojibwe-tribal-lands
20
   See MN law enforcement has been paid nearly $1.7 M from Line 3 escrow account
https://healingmnstories.wordpress.com/2021/08/03/mn-law-enforcement-has-been-paid-nearly-
1-7-m-from-line-3-escrow-account/
21
   See Women arrested defending the Shell River
https://mail.google.com/mail/u/0/?pli=1#inbox/FMfcgzGkZZwLCQGrzGkcBwddFjznPDvc?proj
ector=1

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Mississippi River Lodge25, and Red Lake River26 Treaty Camps27 for Water Protectors.

Presently more than 700 arrests have been made by DNR and local law enforcement.

       Trespass is civil regulatory in nature and more importantly Prohibited Trespass is

an existing offense in the 1855 Conservation Code28 adopted by the White Earth Band in

2010. Minnesota is infringing on Chippewa’s civil rights, U.S. Constitutional rights,

treaty and reserved rights, by systematically using DNR Conservation Officers and state

law enforcement to protect the worst, climate change culprits to unjustly take excessive

amounts of surface and ground water, during a drought just before Manoomin harvest




22
   See Blocking Machinery With Their Bodies: Inside The Fight Against An Oil Pipeline,
https://www.youtube.com/watch?v=JZTmXkW5VqI
23
   See Firelight Action https://www.youtube.com/watch?v=jVWJk8kM12E On 07/29/2021
Water Protectors blocked access to a water pump on the Mississippi River near the FIrelight
Treaty Camp. Two were arrested and 4 were cited when the refused to move away from the
pump. See also Bad Ass Grandma Arrest Firelight Camp
https://mail.google.com/mail/u/0/?pli=1#inbox/FMfcgzGkZZwLCQGZSnQChGCPkCbBltMP?p
rojector=1
24
   See Treaty People Gathering Action at the Headwaters of the Mississippi River
https://www.bing.com/videos/search?q=treaty+people+gathering+youtube&docid=60800204736
0921713&mid=A0C1E0C7305587C520A1A0C1E0C7305587C520A1&view=detail&FORM=V
IRE
25
    See Taysha Martineau and Winona LaDuke at the lodge
https://www.youtube.com/watch?v=bk9b-2YuTTM
26
   See UPDATE: Weekend Arrests At Pipeline Protest Camp By Thief River Falls, MN
https://mail.google.com/mail/u/0/?pli=1#inbox/FMfcgzGkZZwLCSVlvhMkGxpMTDszXKDt?p
rojector=1
27
   See Indigenous people in Minnesota arrested for protesting the Line 3 pipeline at Red Lake
Treaty Camp https://www.youtube.com/watch?v=g0P-k6uc4x4
28
   See WERBC Res. 057-10-008, adopted Conservation Code for the 1855 Ceded Territory
Tribes. The 1855 Conservation Code is nearly identical to the 1854 Conservation Code. The
1854 Conservation Code includes the offense of prohibited trespass. Minnesota already
financially compensates the 1854 treaty bands, in excess of $15 Million per bi-annually to not
exercise their off-reservation, commercial harvesting rights. See Minn. Stat. 97A.157, 1854
TREATY AREA AGREEMENT https://www.revisor.mn.gov/statutes/2019/cite/97A.157/pdf

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season. Meanwhile Enbridge is using militarized29 security forces and is reportedly

bringing in tankers of water from other, known and unknown, cross contaminating water

sources to continue construction and drilling30 day and night during the drought.

                                       COMPLAINT

       This is an action for declaratory and injunctive relief by which Plaintiffs

Manoomin, the White Earth Band of Ojibwe (the “Band”) of the Minnesota Chippewa

Tribe, on the White Earth Reservation, and individual Chippewa (and other tribes who

are a party to the same 1825 and 1826 treaties) Treaty Beneficiaries and (members) and

non-Indian Water Protectors generally seek declaratory and injunctive relief to:

       a. Declare Manoomin, or wild rice, within all the Chippewa ceded territories is
          protected and possesses inherent rights to exist, flourish, regenerate, and
          evolve, as well as inherent rights to restoration, recovery, and preservation.
          These rights include, but are not limited to, the right to pure water and
          freshwater habitat; the right to a healthy climate system and a natural
          environment free from human-caused global warming impacts and emissions;
       b. Declare that Plaintiff tribal members possess the individual legal rights to
          harvest manoomin, and protect and save manoomin seeds, and protect the
          waters that support Manoomin within the 1855 ceded territory and beyond, free
          of DNR interference and regulation.
       c. Declare the Chippewa Plaintiffs as individual Chippewas of the Mississippi
          and the political successor, federally recognized tribal government of the


29
   See Just Out of Jail, Winona LaDuke Decries Militarized Crackdown on Enbridge Line 3
Pipeline Protests, DemocracyNow, https://www.youtube.com/watch?v=KRwjWJzwNls
30
   See Drilling Fluid Used in Line 3 Construction Released Near Solway Lakeland Public TV
https://mail.google.com/mail/u/0/?pli=1#inbox/FMfcgzGkZZwLCWvRPnTXdtJkkvcBgPlg?proj
ector=1

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          White Earth Reservation have recognized legal rights to lands and waters that
          pre-date treaties and Minnesota statehood and are derived from the individually
          held, treaty reserved, usufructuary property rights necessary to support healthy
          ecosystems from which to provide on-going food security to hunt, fish, trap
          and gather; which rights are protected by U.S. Constitutional due process, as
          part of the supreme law of the land.
       d. Declare that Chippewas (and related 1825-26 treaty beneficiaries) individually,
          and collectively as historic Bands, have a right to invite guests to their various
          waters and lands associated public properties, and that invited guests both
          tribal and non-tribal have a right, if not intrinsic duty as invited guests to help
          defend endangered Chippewa property rights and interests. (ie. house/car on
          fire, help put fire out).
       e. Declare that Defendants individually and collectively knew or should have
          known their 5 Billion gallons of water grant was without the free, prior,
          informed consent31 of the Manoomin and historic treaty bands and members of
          the Chippewas of the Mississippi and present day political successor tribal
          government at White Earth Reservation.
       f. Declare that Defendants are collectively and intentionally engaged in a pattern
          and practice of impermissibly infringing on and circumventing important
          Congressionally protected Chippewa treaty rights expressly protected under
          Public Law 280(b) whereby
              Nothing in this section shall authorize the alienation,
              encumbrance, or taxation of any real or personal property,
              including water rights, belonging to any Indian or any Indian
              tribe, band, or community that is held in trust by the United States
              or is subject to a restriction against alienation imposed by the United
              States; or shall authorize regulation of the use of such property
              in a manner inconsistent with any Federal treaty, agreement, or
31
   See United Nations Declaration on the Rights of Indigenous Peoples (UNDRIP)
https://www.un.org/development/desa/indigenouspeoples/declaration-on-the-rights-of-
indigenous-peoples.html

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              statute or with any regulation made pursuant thereto; or shall deprive
              any Indian or any Indian tribe, band, or community of any right,
              privilege, or immunity afforded under Federal treaty, agreement, or
              statute with respect to hunting, trapping, or fishing or the control,
              licensing, or regulation thereof.

       g. Declare Defendant state of Minnesota is willfully and intentionally engaged in
          civil rights deprivations against the Chippewas, other tribal members and
          invited guests, with regard to the free exercise and enjoyment of federally
          protected, treaty-recognized water property rights necessary to support the
          inherent and usufructuary property rights to hunt, trap, fish and gather
          Manoomin under: the 1855 Treaty (10 Stat. 1105); the 1837 Treaty (7 Stat.,
          536); the 1825 Treaty (7 Stat. 272) and the 1826 Treaty (7 Stat. 290); the
          American Indian Religious Freedoms Act; the First Amendment; Fourth
          Amendment; Fifth Amendment; Due Process Clause; and, Equal Protection
          Clause of the Fourteenth Amendment, which all violates 42 U.S. Code § 1983,
          for Civil action for deprivation of rights. Minnesota is interfering with the
          rights of tribes to make their own laws and to be ruled by them, by
          misappropriating 5B gallons of water and jeopardizing and endangering
          Manoomin and using police powers to enforce unjust state laws.
       h. Declare intentional interference by the state of Minnesota with regard to the
          exercise of federally protected, treaty-recognized water property rights
          necessary to support the inherent and usufructuary property rights to hunt, fish
          and gather under the 1855 Treaty (10 Stat. 1105); the 1825 Treaty (7 Stat. 272)
          and/or the 1826 Treaty (7 Stat. 290); the First Amendment; Fourth
          Amendment; Fifth Amendment; Due Process Clause; and Equal Protection
          Clause of the Fourteenth Amendment, by arbitrarily, picking and choosing
          which Chippewa treaty tribes may enjoy and protect their usufructuary and
          water rights unmolested by DNR Conservation Officers.



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        i. Declare the DNR has intentionally and knowingly violated the Rights of
           Manoomin by unilaterally granting 5 billion gallons of water, without official
           notice to tribes, without Chippewa consent, on and off White Earth
           Reservation in the Chippewa treaty ceded territories. See Exhibit A. Water
           Report: “What happens when the water goes down?” By Renee L. Keezer,
           Pesticide Coordinator WE Natural Resources to Monica Hedstrom-Director,
           Director, WE Natural Resources dated July 16, 2021, RE: Minnesota
           Department of Natural Resources, Amended Water Appropriation Permit
           #2018-3420, 5 billion gallons of water for Enbridge Line 3, Summary and
           Comments.
        j. Enjoin Defendants DNR to provide injunctive relief to nullify Water
           Appropriation Permit No. 2018-3420 immediately to prevent further, continued
           waste of fresh water resources, both surface and groundwater, on reservation
           and across the ceded territories (necessary for the Manoomin to live and
           flourish; and so tribal members may enjoy their rights to harvest manoomin),
           by the Defendants Minnesota Department of Natural Resources (the “DNR”)
           officials who unilaterally granted an increase to 5 billion gallons of water, up
           from a 0.5 billion gallons of water for total 10 fold increase, for Line 3, see
           https://files.dnr.state.mn.us/features/line3/decisions/04june2021-update-trench-
           watering-decisions.pdf Water Appropriation Permit No. 2018-3420 Enbridge
           Line 3 Replacement Project, dated June 4, 2021.


                                    Background History

1. The Chippewa and the White Earth Band have been involved in the pipeline

     regulatory process at the PUC for nearly 8 years.32 The DNR has continued to


32
  Most recently, Bench & Bar published 2 articles analyzing and questioning Minnesota Public
Utilities Commission decision making on behalf of public’s interest and environmental racism in

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   disregard and disrespect parity recognition of Chippewa usufructuary rights in the

   1855 ceded territory33 on par with the 1837 and 1854 ceded territories DNR

   recognition of usufructuary rights.


the routing Line 3 pipeline through Chippewa territories in the May/June 2021 edition
https://www.mnbar.org/resources/publications/bench-bar/issues/may-june-
2021/2021/05/26/when-the-public-interest-isn-t-minnesota-s-approval-of-a-new-line-3 and see
also part 2 in the July 2021 https://www.mnbar.org/resources/publications/bench-
bar/2021/07/01/we-live-not-alone-a-legacy-of-environmental-racism
        In 2014, the White Earth Band of Ojibwe (the “Band”) intervened and joined other
Ojibwe (Chippewa) Anishinabe tribal governments and environmental intervenor groups (like
Honor the Earth based on White Earth Reservation) in the Sandpiper (Bakken fracked) crude oil
pipeline application and permitting process led and facilitated by Minnesota Department of
Commerce (DOC) before the Minnesota Public Utilities Commission (PUC). Later in 2014,
when the PUC approved the Certificate of Need (CN) for Enbridge’s Sandpiper (Bakken crude)
pipeline project, without an Environmental Impact Statement (EIS), environmental intervenors
appealed the PUC’s decisions. The Minnesota Court of Appeals reversed and remanded
because
        [w]hen certificate of need proceedings precede routing permit proceedings for a
        large oil pipeline, the Minnesota Environmental Policy Act requires that an
        environmental impact statement be completed before a final decision is made on
        the certificate of need.
See In re N.D. Pipeline Co., 869 N.W.2d 693 (Minn. App. Sept. 14, 2015) (Public Utilities
Commission File No. PL-6668/CN-13-473, PL-6668/PPL-13-474).
        On August 4, 2015, Enbridge abandoned the Sandpiper Pipeline Project, a proposed 612-
mile, $2.6 billion oil pipeline that would transport light crude oil from the Bakken Shale and
Western Canada to Wisconsin. Not long after Enbridge bought into Dakota Access Pipeline
(DAPL), on September 3, 2016, during Labor Day weekend, the Dakota Access Pipeline brought
in a private security firm when the company used bulldozers to dig up part of the pipeline route
that contained possible burial sites and culturally significant artifacts; it was subject to a pending
injunction motion [and] construction workers bulldozed a section of privately owned land the
tribe had claimed as sacred ground, and when protesters trespassed into the area security workers
used attack dogs which bit at least six of the protesters and one horse. (See Dakota Access
Pipeline protests - Wikipedia “Standing Rock Special: Unlicensed #DAPL Guards Attacked
Water Protectors with Dogs & Pepper Spray”. Democracy Now!. Archived from the original on
June 13, 2019. Retrieved June 19, 2019. Standing Rock Special: Unlicensed #DAPL Guards
Attacked Water Protectors with Dogs & Pepper Spray | Democracy Now! Enbridge and the PUC
filed an unsuccessful petition for review to the Minnesota Supreme Court for In re N.D. Pipeline
Co., 869 N.W.2d 693 (Minn. App. Sept. 14, 2015), which review was denied (Minn. Dec. 15,
2015) (A15-0016).
33
   In January 2016, the White Earth Band intervened and joined other Ojibwe (Chippewa)
Anishinabe tribal governments and environmental intervenor groups (like Honor the Earth based

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2. As part of Line 3 comments process, Monica Hedstrom, Director of Natural

   Resources for the White Earth Band did file Line 3 comments34 on 5-17-2019 with the

   Minnesota DNR to inform them that

       As part of the Line 3 environmental review process the White Earth Band
       of Ojibwe helped develop and has adopted the Minnesota Chippewa Tribe’s
       Anishinabe Cumulative Impacts Assessment as the White Earth Band’s
       environmental risk and evaluation tool for the meaningful assessment of the
       short and long term impact of the abandonment of the existing Line 3
       pipeline, as well as the impacts from tar sands extraction, greenhouse gases,
       climate change and additional, future pipeline abandonment from the
       decreased demand for crude oil. The White Earth Band of Ojibwe did
       FIND that the Minnesota Chippewa Tribe’s Anishinabe Cumulative
       Impacts Assessment is superior to the EIS that has been approved by the
       Minnesota PUC in examining the cumulative impacts from the proposed
       Line 3 project upon surface waters, groundwater, fish, wildlife, waterfowl,
       wild rice, plants, as well as the broader environmental consequences
       resulting from the proposed Line 3 project, which necessarily requires
       prohibiting the Line 3 Pipeline Replacement, new route corridor for the
       replacement pipeline across the 1855 ceded territory in violation of White
       Earth Band of Ojibwe and 1855 Treaty Authority established codes, laws


on White Earth Reservation) in the Line 3 (tar sands) crude oil pipeline permitting process led
and facilitated by Minnesota Department of Commerce (DOC) before the Minnesota Public
Utilities Commission (PUC). When the White Earth Band filed its motions to intervene in Line
3, the Deputy Commissioner of Minnesota Department of Natural Resources wrote Feb. 5, 2016,
to Ms. Heydinger, Chair, Minnesota Public Utilities Commission, Re: In re Application of
Enbridge Energy, MPUC Docket No. PL-9/CN-14-916 saying in part that
        the DNR is, however, concerned about any ruling the Public Utilities Commission
        (PUC) might make regarding the Band's claim that it has usufructuary rights in
        the 1855 ceded territory in the context of addressing the Band's request to
        intervene in these proceedings. A PUC decision to permit the Band to intervene
        in these proceeding premised on claimed usufructuary rights could have legal
        implications reaching well beyond these proceedings. The DNR, therefore,
        requests that if the PUC permits the Band to intervene it do so using its
        discretionary authority without addressing the Band's claim that it has
        usufructuary rights in the 1855 ceded territory.
See copy of DNR letter attached as Exhibit B.
34
   See letter to DNR Comm. Strommen dated 5-17-2019 from Monica Hedstrom, Director of
Natural Resources for the White Earth Band attached as Exhibit C.


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          and customs required consent as co-owners[, concluding that further
          consultation will be necessary. If you have any questions or need of further
          information about Rights of Manoomin and consent, please call on me at
          218-935-2488.

3. White Earth and Red Lake filed comments with the Minnesota Pollution Control

      Agency (MPCA) with regard to the 401 Clean Water Act April 10, 2020, by letter to

      Commissioner Laura Bishop, Minnesota Pollution Control Agency, 520 Lafayette

      Road North St. Paul, Minnesota 55155-4194, Re: Clean Water Act Section 401

      Permitting for Enbridge Line 3 Project [and] Tribal Water Rights and Environmental

      Jurisdiction Comments35, requiring free, prior, informed consent from the Chippewas

      of the Mississippi and White Earth Band of Ojibwe. The Administrative Law Judge

      (ALJ) for the contested case hearing dismissed tribal water rights arguments before

      the contested case proceeding was conducted because he found that tribal water rights

      are based on federal law and declared that

          3. The Red Lake-White Earth Petition identifies two issues for a contested
          case hearing. The first issue is: Whether the MPCA may apply the
          provisions of the Clean Water Act to impacted Indian tribes.

          4. The MPCA finds that the first issue raises a question of law that is not
          appropriate for a contested case hearing. The petitioners allege that the
          Clean Water Act does not apply to Indian tribes, which is a question of
          statutory interpretation. As a result, the first issue does not satisfy the
          criteria for a contested case.
          5. The second issue raised in the Red Lake-White Earth Petition is:
          Whether Congress exempted waters rights from the 1953 jurisdictional
          grant under Public Law 280 to all states, including Minnesota, and, if so,
          whether the 401 Certification violates the water rights of Chippewa Tribes.



35
     See copy attached as Exhibit D.

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        6. The MPCA finds that the second issue raises a question of law that is not
        appropriate for a contested case hearing. The issue turns on questions of
        water rights under federal law, including Indian treaty rights. As a result,
        the second issue does not satisfy the criteria for a contested case.

See https://www.pca.state.mn.us/sites/default/files/Enbridge-Line-3-CCH-
order.pdf MPCA ALJ Order dated 6-3-20.

See also comments submitted to the PUC by the 1855 Treaty Authority with

regard to Sandpiper, Line 3 and decommissioned pipeline clean-up and removal.36

4. The Mn DNR did NOT hold a contested case proceeding with regard to 401 Clean

     Water Act 401 permits for Line 3. Instead the DNR took phone comments at virtual

     hearings during the Covid-19 pandemic and the DNR did state37 at item 11 that

        The Project would also cross wetlands and streams not covered by DNR
        licenses or permits. These wetland and stream crossings are regulated by
        the USCOE Clean Water Act section 404 permit and the MPCA Clean
        Water Act section 401 Water Quality Certification.




36
   See https://mn.gov/eera/web/project-
file?legacyPath=/opt/documents/34079/Public%20Comments%201%20to%20A.pdf
37
   See https://files.dnr.state.mn.us/features/line3/decisions/cross-public-land-decision.pdf
FINDINGS OF FACT, CONCLUSIONS AND ORDER by Barb Naramore, DNR Deputy
Commissioner License for Utility to Cross State Lands No. ULND010332 Enbridge Line 3
Replacement Project 11-12-2020.

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5. The DNR License for Utility to Cross State Lands No. ULND010332 Enbridge Line 3

   Replacement Project responded to Tribal comments about public lands at section

       i. Comments Received from The 1855 Treaty Authority, the Red Cliff
          Band of Superior Chippewa, and Honor the Earth and DNR
          Response

           25. The 1855 Treaty Authority commented that the Project will cross
       state forests where Band members hunt, fish, trap and gather. DNR
       Response: The license would not prevent Band members from hunting,
       fishing, and gathering in areas crossed by the pipeline. Further, as described
       below, the project would not cause pollution, impairment or
       destruction that would interfere with hunting, fishing or gathering.
       Enbridge is required to comply with comprehensive restoration and
       revegetation requirements under the EPP, which are designed to restore
       impacts from construction.

   (Id. at section i, item 25)(Emphasis added).



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6. Both White Earth and Red Lake as federally recognized tribal governments and as

     long time intervenors to the Line 3 PUC permitting process sought a Stay of

     Construction pending appeals at the Minnesota Court of Appeals, so that intervening

     Tribes could exercise their appeal rights under Minnesota state law before

     construction. Minnesota State Senator John Marty wrote a letter to the PUC dated

     Dec. 3, 2020 (for the Dec. 4 PUC hearing) pointing out that

        granting a stay of construction allows the PUC to acknowledge that others
        have valuable perspectives and should be allowed their day in court. To
        date, the perspectives of the Red Lake and White Earth Nations, who have
        rights to treaty lands through which this new corridor will run, have not
        been taken into account. In the Certificate of Need, the Commission
        omitted discussion of treaties from the order, determining that while the
        ALJ report considered them, the PUC did not need to [, citing] Footnote 18
        of the September 2018 order states: “For example, the ALJ Report included
        a section discussing the treaties between the federal government and the
        Native American sovereign nations located in Minnesota. The Commission
        concludes that this discussion is not necessary to the Commission’s
        decision, and therefore does not adopt these findings.”

     See copy of Sen. Marty letter attached as Exhibit E. The PUC denied the
     stay.38

7. The White Earth Band has participated in a variety of appeals in the Minnesota Courts

     of Appeals with other Tribes and environmental parties. There remains presently an

     appeal about the 401 Clean Water Act (CWA) permit issued by the MPCA at the

     Minnesota Courts of Appeals. Oral arguments were held and an order is most likely

     still 30 plus days away.

38
  See Minnesota regulators decline to halt Line 3 construction, Utility commissioners vote down
motion from tribal nations seeking to stop the pipeline project from proceeding, by Matthew
Guerry, Dec. 4, 2020, https://www.duluthnewstribune.com/news/government-and-
politics/6787895-Minnesota-regulators-decline-to-halt-Line-3-construction

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8. The White Earth Band is party with Red Lake and environmental parties challenging

     the 404 CWA permits issued by the United States Army Corps of Engineers

     (USACE) in Federal District Court, D.C. Circuit, for not following the National

     Environmental Policy Act (NEPA) and not doing an EIS etc. Briefing just concluded.

     The same Lorax question is being asked about the USACE in Federal Court.

9. During the pendency of the EIS process by the PUC and the 401 CWA permitting by

     the MPCA and MDNR permitting, Enbridge’s water appropriation need was

     approximately 510.5 million gallons for the entire Line 3 pipeline project.

10. On June 4, 2021, the MDNR issued Water Appropriation Permit No. 2018-3420

     Enbridge Line 3 Replacement Project, dated June 4, 2021. The order39 first states

            Pursuant to the requirements of Minn. Stat. § 103G.271, Enbridge
            applied for and was issued four separate water appropriation permits as
            part of its proposed Line 3 Replacement Pipeline Project (“Project”).
            The permits issued seek to appropriate water for (1) hydrostatic testing
            and horizontal directional drilling, (2) trench and construction
            dewatering, (3) dust suppression, and (4) construction dewatering near
            the Gully 30 calcareous fen. These Findings of Fact only address
            Enbridge’s water appropriation permit amendment for trench and
            construction dewatering (“Amendment”). The other three water
            appropriation applications and initial construction dewatering
            application were addressed in separate findings and have been issued
            permits.

11. DNR Water Appropriation Permit No. 2018-3420 does not follow Gov. Walz

     Executive Order 19-24 and does not included affected Tribes as eligible to file a

     demand a hearing and instead only allows

39
  See https://files.dnr.state.mn.us/features/line3/decisions/04june2021-update-trench-watering-
decisions.pdf Water Appropriation Permit No. 2018-3420 Enbridge Line 3 Replacement Project,
dated June 4, 2021.

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        the applicable municipality, watershed district or soil and water
        conservation district may file a demand for a hearing on the Amendment in
        accordance with Minnesota Statute § 103G.311, subd. 5 and Minnesota
        Rule 6115.0670, subp. 3, within 30 days after mailing or electronic
        transmission of notice of this Order.”

12. During a June 22, 2021 Tribal Executive Committee (TEC) meeting of the Minnesota

     Chippewa Tribe, MCT members requested that the TEC attempt to seek rescission of

     the 5 billion gallons of water appropriation40 for Line 3 until actual consultation

     occurred under Gov. Walz Executive Order 19-24.

13. The DNR declined to rescind the new 5 billion gallons of water permit at the meeting

     and subsequently on July 14th the White Earth Tribal government and citizens traveled

     to the Minnesota State Capitol supported by Line 3 Water Protectors to call on Biden

     and Walz to rescind 5B water and pipeline permits. Tribal members and water

     protectors urged President Joe Biden and Gov. Tim Walz to listen to Indigenous

     nations in northern Minnesota who are opposed to the pipeline, which would cross

     near reservation land and through waterways.41

14. Because of drought and frac-outs42 from drilling under the headwaters of the

     Mississippi River43, the White Earth Band served on Enbridge44 a cease and desist



40
   See TEC Pres. Chavers letter to Gov. Walz dated 6-22-2021 regarding wild rice and drought
attached as Exhibit F.
41
   See Line 3 protesters call on Biden, Walz to rescind pipeline permits By: Sarah Mearhoff, Jul.
15, 2021, https://www.grandforksherald.com/news/government-and-politics/7112669-Line-3-
protesters-call-on-Biden-Walz-to-rescind-pipeline-permits)
42
   See https://www.youtube.com/watch?v=udQ2jGpqwZk Line3 Project - Mississippi River
Headwaters Sampling 7/28/21. Video by Lucas Mulliken regarding the suspicious conditions at
the Mississippi River near the Enbridge Line 3 Horizontal Directional Drilling site in the
Headwaters. Clearwater County, Minnesota.

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     order for 48 hours from the White Earth Band to hold healing ceremonies for the

     Mississippi river and all the animal and plant inhabitants that rely on the clean water.

15. This action seeks declaratory and injunctive relief with regard to exclusive water

     rights of the Chippewas of the Mississippi as provided by White Earth Band of

     Ojibwe Res. 001-21-056, requiring free, prior, informed consent under express and

     Treaty-guaranteed water property rights, reserved water rights, priority, first-in-time

     and riparian rights and based on the Winter’s Doctrine ground and surface water

     rights necessary to sustain Manoomin, the animals and plants of the upper Mississippi

     watershed for the people and culture of the sovereign, pan Chippewa Nation,




43
   See https://www.youtube.com/watch?app=desktop&v=fzT4cQYuZ7s Breaking at the Willow
River Enbridge drilling construction operations hits an aquifer, July 6 2021, Video by Keri
Pickett/Honor the Earth, Breaking at the Willow River: Enbridge drilling construction operations
hit an aquifer. What you see is drilling mud. The yellow booms are to stop it from flowing
downstream. It is called a frack out.
44
   See https://www.youtube.com/watch?v=XxywMbxp3q8 Lakeland Public TV News

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   expressed and retained throughout 44 treaties including the 1825, 1826, 1837, 1842,

   1854 and 1855 Treaties with the United States government. May the Chippewa have

   a mighty flood of justice, an endless river of righteousness like an ever-flowing

   stream and such other relief the Court deems just and proper.

                                            Jurisdiction

16. Jurisdiction is invoked under the White Earth Reservation Business Committee,

   White Earth Band of Chippewa Indians Resolutions Resolution Nos. 057-10-008 the

   Ceded Territory Conservation Code of the 1855 Treaty Tribes, 001-19-009 Rights of

   Manoomin Ordinance, 001-19-010 Rights of Manoomin Code, 019-21-002 adopting

   Off Reservation ceded territory jurisdiction and adoption of 1855 Treaty Authority

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   Resolution 2018-01 for the Right to Travel, Use and Occupy Traditional Lands and

   Waters Code and the 1855 Treaty Authority Resolution 2018-05 for the Rights of

   Manoomin Code, as part of the laws of the White Earth Band of Ojibwe and the

   Chippewa’s Winter’s Doctrine for necessary quality and quantity of surface and

   groundwater to support the primary treaty foods of Manoomin (wild rice), fish and

   maple which all require abundant, clean freshwater.

17. Jurisdiction is also invoked under the American Indian Religious Freedom Act

   (AIRFA) (wherever wild rice or Manoomin exists), 42 U.S.C. § 1996; Public Law 83-

   280 (18 U.S.C. § 1162(b), 28 U.S.C. § 1360(b & c)),           42 U.S.C. § 1983 and 42

   U.S.C. § 1988 for deprivation of federal and treaty civil rights and federal statutes

   protections by the DNR with the exercise of federally protected, treaty-recognized

   water property rights, and defense of, necessary to support the inherent and

   usufructuary property rights to hunt, fish and gather under the 1855 Treaty (10 Stat.

   1105); the 1825 Treaty (7 Stat. 272) and the 1826 Treaty (7 Stat. 290); the First

   Amendment; Fourth Amendment; Fifth Amendment; Due Process Clause; and, Equal

   Protection Clause of the Fourteenth Amendment.

                                           Venue

18. Venue is proper pursuant to White Earth Band of Chippewa Indians Judicial Code,

   Title 1, Courts, Ch. II Jurisdiction, section 1(j) which provides that

       The Court shall have jurisdiction to hear all actions arising under any code,
       resolution or ordinance enacted to protect, preserve, or regulate the rights
       reserved for Chippewa people in treaties negotiated with the United States
       government regarding off-reservation resources. The Court shall also have

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       jurisdiction to hear all actions arising under any code, resolution or
       ordinance enacted to conserve, manage, or protect the resources utilized by
       the Chippewa people, regardless of whether such code, resolution or
       ordinance contemplates conservation, management or protection within or
       without the boundaries of the Reservation.

   (See https://whiteearth.com/assets/files/judicial/codes/judicial.code.pdf);

19. Foundation for jurisdiction and venue are also supported by WERBC Resolution Nos.

   057-10-008 the Ceded Territory Conservation Code of the 1855 Treaty Tribes; 001-

   19-009 Rights of Manoomin Ordinance; 001-19-010 Rights of Manoomin Code; and

   019-21-002 adopting Off Reservation ceded territory jurisdiction, including 1855

   Rights of Manoomin and 1855 Rights to Travel, Use and Occupy Traditional Lands

   and Waters code.

                                       Parties

20. MANOOMIN, or wild rice, possesses inherent rights to exist, flourish, regenerate, and

   evolve, as well as inherent rights to restoration, recovery, and preservation. These

   rights include, but are not limited to, the right to pure water and freshwater habitat;

   the right to a healthy climate system and a natural environment free from human-

   caused global warming impacts and emissions. Manoomin is considered by the

   Anishinaabe people to be a gift from the Creator or Great Spirit and continues to be an

   important staple in the diets of native peoples for generations, is a central element of

   the language, culture, heritage, migration stories and history of the Anishinaabe

   people, and is an integral part of the wetland ecosystems and natural communities of




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     our traditional lands and waters. Manoomin is also an indicator45 species in the

     ecosystem also struggling to survive climate change.

21. WHITE EARTH BAND OF OJIBWE (or White Earth Reservation Business

     Committee) (WERBC) the White Earth Reservation Business Committee is the duly

     elected governing body of the White Earth Reservation pursuant to Article VI,

     Section 1, of the revised constitution of the Minnesota Chippewa Tribe, as amended,

     and organized under Section 16, of the Act of June 18, 1934 (48 Stat. 984), ) and

     therefore has the responsibility and authority to provide for the safety, health and

     welfare of its tribal members on and off reservation. https://whiteearth.com/home?p=1

22. MICHAEL FAIRBANKS, is the duly elected Chairman of the White Earth Band and

     is an adult person and member of Minnesota Chippewa Tribe, enrolled with the White

     Earth Band, and is a beneficiary of Chippewas of the Mississippi signatories of the


45
  See https://www.wpr.org/indicator-plant-wild-rice-struggles-survive-changing-climate;
Manoomin, A Cultural And Nutritional Staple For Thousands Of Years, Faces Wide Range Of
Threats, By Mary Kate McCoy Wisconsin Public Radio, March 2, 2020. Manoomin, or wild rice,
has been a spiritual, cultural and culinary staple for Wisconsin tribes for thousands of years. But
experts estimate it’s lost nearly half of its historic range and say climate change is likely the
greatest threat it’s ever faced. Those who work with manoomin know how sensitive the native,
annual plant is, and warn it’s an indicator species of climate change. In this series, WPR is
exploring how the state can adapt to and mitigate the affect climate change is having on some of
Wisconsin’s most iconic foods.
See also https://data.glifwc.org/manoomin/pdf/Manoomin.Stewardship.Plan.draft.[2019-08-
15].pdf
See also U.S. Army Corps of Engineers Upper Mississippi River Headwaters Bemidji to St. Paul,
Final Integrated Reservoir Operating Plan Evaluation and Environmental Impact Statement
2009 at https://www.bestofdocument.com/pdf/upper-mississippi-river-headwaters-bemidji-to-st-
paul-integrated-reservoir-operating-plan-evaluation/ The responsible lead agency is the U.S.
Army Corps of Engineers; the St. Paul District has the lead in preparation of this Integrated
Reservoir Operating Plan Evaluation and Environmental Impact Statement. The U.S. Forest
Service is a cooperating agency.

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   various 44 Chippewa treaties, including but not limited to the 1855 Treaty with the

   United States government, and is responsible for the health, safety and welfare of

   tribal members and defending the Manoomin, the waters, and Chippewa treaty rights.

23. LEONARD ‘ALAN’ ROY is the duly elected Secretary-Treasurer of the White Earth

   Band and is an adult person and member of Minnesota Chippewa Tribe, enrolled with

   the White Earth Band, and is a beneficiary of Chippewas of the Mississippi signatories

   of the various 44 Chippewa treaties, including but not limited to the 1855 Treaty with

   the United States government, and is responsible for the health, safety and welfare of

   tribal members and defending the Manoomin, the waters, and Chippewa treaty rights.

24. RAYMOND AUGINAUSH is the duly elected District 1 Representative of the White

   Earth Band and is an adult person and member of Minnesota Chippewa Tribe,

   enrolled with the White Earth Band, and is a beneficiary of Chippewas of the

   Mississippi signatories of the various 44 Chippewa treaties, including but not limited

   to the 1855 Treaty with the United States government, and is responsible for the

   health, safety and welfare of tribal members and defending the Manoomin, the waters,

   and Chippewa treaty rights.

25. KATHY GOODWIN is the duly elected District 2 Representative of the White Earth

   Band and is an adult person and member of Minnesota Chippewa Tribe, enrolled with

   the White Earth Band, and is a beneficiary of Chippewas of the Mississippi signatories

   of the various 44 Chippewa treaties, including but not limited to the 1855 Treaty with




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   the United States government, and is responsible for the health, safety and welfare of

   tribal members and defending the Manoomin, the waters, and Chippewa treaty rights.

26. CHERYL ‘ANNIE’ JACKSON is the duly elected District 3 Representative of the

   White Earth Band and is an adult person and member of Minnesota Chippewa Tribe,

   enrolled with the White Earth Band, and is a beneficiary of Chippewas of the

   Mississippi signatories of the various 44 Chippewa treaties, including but not limited

   to the 1855 Treaty with the United States government, and is responsible for the

   health, safety and welfare of tribal members and defending the Manoomin, the waters,

   and Chippewa treaty rights.

27. TODD JEREMY THOMPSON is an adult person and member of Minnesota

   Chippewa Tribe, enrolled with the White Earth Band, and is a beneficiary of

   Chippewas of the Mississippi signatories of the various 44 Chippewa treaties,

   including but not limited to the 1855 Treaty with the United States government, and

   has been charged with Trespass by the State of Minnesota for participation in

   defending the Manoomin, the waters, and Chippewa treaty rights.

28. DAWN GOODWIN is an adult person and member of Minnesota Chippewa Tribe,

   enrolled with the White Earth Band, and is a beneficiary of Chippewas of the

   Mississippi signatories of the various 44 Chippewa treaties, including but not limited

   to the 1855 Treaty with the United States government, and has been charged with

   Trespass by the State of Minnesota for participation in defending the Manoomin, the

   waters, and Chippewa treaty rights.


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29. NANCY BEAULIEU is an adult person and member of Minnesota Chippewa Tribe,

      enrolled with the Leech Lake Band, and is a beneficiary of Chippewas of the

      Mississippi signatories of the various 44 Chippewa treaties, including but not limited

      to the 1855 Treaty with the United States government, and has been charged with

      Trespass by the State of Minnesota for participation in defending the Manoomin, the

      waters, and Chippewa treaty rights.

30. WINONA LADUKE is an adult person and member of Minnesota Chippewa Tribe,

      enrolled with the White Earth Band, and is a beneficiary of Chippewas of the

      Mississippi signatories of the various 44 Chippewa treaties, including but not limited

      to the 1855 Treaty with the United States government, and has been charged with

      Trespass by the State of Minnesota for participation in defending the Manoomin, the

      waters, and Chippewa treaty rights. LaDuke was designated Guardian of the Shell

      River46 at the July 9, 2019, meeting of the 1855 Treaty Authority. LADUKE is also

      executive director of Honor the Earth.

31. PATRICIA “ALEX GOLDEN-WOLF” OSUNA is an adult person and member of

      Minnesota Chippewa Tribe, enrolled with the White Earth Band, and is a beneficiary

      of Chippewas of the Mississippi signatories of the various 44 Chippewa treaties,

      including but not limited to the 1855 Treaty with the United States government, and

      has been charged with Trespass by the State of Minnesota for participation in

      defending the Manoomin, the waters, and Chippewa treaty rights.


46
     See Women of the Shell River, 7-15-2021 https://www.youtube.com/watch?v=nIK25Z2qSaA

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32. JUSTIN KEEZER is an adult person and member of Minnesota Chippewa Tribe,

      enrolled with the Leech Lake Band, and is a beneficiary of Chippewas of the

      Mississippi signatories of the various 44 Chippewa treaties, including but not limited

      to the 1855 Treaty with the United States government, and has been charged with

      Trespass by the State of Minnesota for participation in defending the Manoomin, the

      waters, and Chippewa treaty rights.

33. TANIA AUBID is an adult person and member of Minnesota Chippewa Tribe,

      enrolled with the Mille Lacs Band of Ojibwe, and is a beneficiary of Chippewas of the

      Mississippi signatories of the various 44 Chippewa treaties, including but not limited

      to the 1855 Treaty with the United States government, and has been charged with

      Trespass by the State of Minnesota for participation in defending the Manoomin, the

      waters, and Chippewa treaty rights.47

34. SIMONE SENOGLES is an adult person and member of Red Lake Band of

      Chippewa Indians (https://www.redlakenation.org/), and is a beneficiary of the

      signatories of the various 44 Chippewa treaties, including but not limited to the 1825,

      1837, 1863 and 1854 Treaties with the United States government, and has been

      charged with Trespass by the State of Minnesota for participation in defending the

      Manoomin, the waters, and Chippewa treaty rights.

35. GINA (PELTIER) EELE is an adult person and member of Turtle Mountain Band of

      Chippewa Indians (https://tmchippewa.com/), and is a beneficiary of the signatories of


47
     See Tania Aubid Water Protector https://www.youtube.com/watch?v=k472LVjq7TE

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   the various 44 Chippewa treaties, including but not limited to the 1855 Treaty with

   the United States government, and has been charged with Trespass by the State of

   Minnesota for participation in defending the Manoomin, the waters, and Chippewa

   treaty rights.

36. TARA WIDNER is an adult person and whose mother was an enrolled member of

   Minnesota Chippewa Tribe, enrolled with the White Earth Band, and would be

   considered a Descendant on reservation, but off-reservation is a beneficiary of

   Chippewas of the Mississippi signatories of the various 44 Chippewa treaties,

   including but not limited to the 1855 Treaty with the United States government, and

   has been charged with Trespass by the State of Minnesota for participation in

   defending the Manoomin, the waters, and Chippewa treaty rights.

37. TARA HOUSKA is an adult person and citizen of Couchiching First Nation, and is a

   beneficiary of the various Chippewa treaties, including but not limited to the 1825 and

   1826 Treaties with the United States government, and has been charged with Trespass

   by the State of Minnesota for participation in defending the Manoomin, the waters,

   and Chippewa treaty rights. Tara Houska is an environmental and Indigenous rights

   attorney and advocate, land defender, founder of the Giniw Collective, and a leader of

   the efforts to stop Line 3.

38. JAMIE “JAIKE SPOTTED-WOLF” WORTHINGTON is an adult person and citizen

   of Mandan, Hidatsa and Arikara Nation, also known as the Three Affiliated Tribes

   https://www.mhanation.com/ and Fort Peck Assiniboine & Sioux Tribes Fort Peck


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      Assiniboine & Sioux Tribes (fortpecktribes.org) , and is a beneficiary of the 1825

      Treaty with the Sioux and Chippewa, Sacs and Fox, Menominie, Ioway, Sioux,

      Winnebago, and a portion of the Ottawa, Chippewa, and Potawattomie, Tribes48 with

      the United States government, and has been charged with Trespass by the State of

      Minnesota for participation in defending the Manoomin, the waters, and Sioux and

      Chippewa treaty rights.

39. SHANAI MATTESON is an adult person and non-Indian citizen resident of

      Minnesota, is an invited guest by the Chippewa to our public properties, land and

      water, has been charged with Trespass based state laws, along with many other

      similarly situated non-Indians, by the State of Minnesota for participation in

      defending the Manoomin, the waters, knowing DNR actions are contrary to Chippewa

      treaty rights.

40. ALLEN RICHARDSON is an adult person and citizen of citizen resident of

      Minnesota, is an invited guest by the Chippewa to our public properties, land and

      water, has been charged with Trespass based on state laws, along with many other

      similarly situated non-Indians, by the State of Minnesota for participation in

      defending the Manoomin, the waters, knowing DNR actions are contrary to Chippewa

      treaty rights.

41. THE MINNESOTA DEPARTMENT OF NATURAL RESOURCES (DNR) is an

      administrative subdivision of the state of Minnesota, responsible for managing


48
     See http://ioway.nativeweb.org/history/treaty1825.htm

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     Minnesota's natural resources according to the Constitution and the law. DNR is the

     agency which is charging and arresting Chippewa Tribal members with Trespass by

     the State of Minnesota for participation in defending the Manoomin, the waters, and

     Sioux and Chippewa treaty rights. https://www.dnr.state.mn.us/

42. SARAH STROMMEN is the Commissioner of the DNR with the responsibility of

     managing only those resources over which she has lawful authority, by promulgating

     and enforcing DNR regulations through the employees and resources of the DNR,

     which does not include federally guaranteed, Treaty-recognized usufructuary property

     that is reserved to the Chippewa people. She is named in her official and her

     individual capacity and acted under color of law and in disregard of the federal treaty

     and civil legal rights of Chippewa Water Protectors.

43. RANDALL DODEEN is the Ecological and Water Resources, Conservation

     Assistance and Regulation Section Manager, who issued the Findings of Fact,

     Conclusions and Order of Commissioner for the Amendment to Water Appropriation

     Permit 2018-3420 on June 4, 2021. He is named in his official and his individual

     capacity and acted under color of law49 and in disregard of the federal treaty and civil

     legal rights of Chippewa Water Protectors.

44. BARB NARAMORE, DNR Deputy Commissioner issued the License for Utility to

     Cross State Lands No. ULND010332 Enbridge Line 3 Replacement Project 11-12-


49
  See https://files.dnr.state.mn.us/features/line3/decisions/04june2021-update-trench-watering-
decisions.pdf Water Appropriation Permit No. 2018-3420 Enbridge Line 3 Replacement Project,
dated June 4, 2021.

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   2020. She is named in her official and her individual capacity and acted under color

   of law and in disregard of the federal treaty and civil legal rights of Chippewa Water

   Protectors. (See DNR State Lands for Line 3 map at item 11, on page 18 supra).

45. DNR Conservation Officers named JOHN and JANE DOEs are named in their

   official and individual capacities and acted under color of law and in disregard of the

   federal legal rights of Chippewa and other Water Protectors.

                       The Incidents Giving Rise to the Complaint

46. According to Findings of Fact, Conclusions and Order of Commissioner for the

   Amendment to Water Appropriation Permit 2018-3420 on June 4, 2021, the permit

   amendment for Line 3 relates solely to the appropriation of water for construction

   dewatering of the pipeline corridor. Enbridge was issued permit no. 2018-3420 on

   December 8, 2020 for a total of 510.5 million gallons of water and requested an

   increase of that volume through this amendment for a total volume of 4,982,768,568

   (5 Billion) gallons. A multitude of other permits and regulatory requirements will also

   apply to the Project prior to and during construction. Enbridge has completed 185.6

   miles of installation out of the 330 miles total in Minnesota (56%), and has completed

   136 waterbody crossings out of the total 227 waterbody crossings (60%). According

   to the amendment request memo from May 12, 2021, as of June 1, 2021 Enbridge will

   have appropriated 479,173,822 million gallons through trench dewatering.

47. Enbridge submitted a permit amendment request on January 26, 2021. Enbridge

   submitted a $150 check covering the amendment permitting fee in accordance with


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   the administrative rule for permit amendments. On May 12, 2021, Enbridge submitted

   a revised Amendment request based on comments received from MPCA and DNR

   staff during the Request for Comments Period described below. DNR’s decision on

   Water Appropriation Amendment Permit No. 2018-3420 (the “Permit”) is based on

   the May 12, 2021 revised submittal.

48. On May 14, 2021 Randall Dodeen contacted Monica Hedstrom, WE Natural

   Resources Director for a May 27, 2021, by email for a tribal participation meeting

   scheduled for May 27, 2021. Renee Keezer, Pesticides Coordinator for WE Natural

   Resources participated in the one-time meeting. See Water Report “What happens

   when the water goes down?” by Renee Keezer dated attached as Exhibit A.

49. On June 22, 2021, the TEC sent a letter to Governor Walz to rescind the Amended

   Water Appropriation until government-to-government consultation as provided under

   E.O. 19-24 had occurred. Minnesota DNR Commissioner declined the TEC request.

50. The stream flow of the Mississippi River coming off Blandin dam in Grand Rapids is

   very low and at least 3 feet below water marks of the river at the dam.




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51. The stream flow downstream is insufficient to hold back tributaries of the upper

   Mississippi to support Manoomin (wild rice) habitats over many miles of rivers and

   lakes where Chippewa Treaty beneficiaries harvest Manoomin. Water levels have

   dropped during this extreme drought period impacting the growth, harvest and

   reseeding of Manoomin.

52. The Minnesota DNR knew in December 2020, that this permit request to amend the

   500 Million gallons permit to 5 Billion had submitted by Enbridge. The Minnesota

   DNR did not notify the natural resource directors of tribes, NOR Tribal leaders EVER




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   officially, about this permit until May 14, 2021, by email. See Water Report “What

   happens when the water goes down?” Exhibit A.

53. When Renee Keezer checked back with Dodeen at DNR on June 9 for status on the

   permit, DNR informed her it was issued the week before. (See Email exchanges DNR

   and Keezer May 27, 2021 to June 9, 2021 attached as Exhibits G and H).

54. Here, Minnesota Governor Walz’s Executive Order 19-24 explains that

       Meaningful and timely consultation between the State of Minnesota and the
       Minnesota Tribal Nations will facilitate better understanding and informed
       decision making by allowing for collaboration on matters of mutual interest
       and help to establish mutually respectful and beneficial relationships
       between the State and Minnesota Tribal Nations.

See https://mn.gov/governor/assets/2019_04_04_EO_19-24_tcm1055-378654.pdf

55. The DNR planned to avoid meaningful and timely consultation with the tribes waiting

   for five (5) months until May 27, and acted unilaterally on June 4, 2021, and issued

   the permit for 5 billion gallons, ten times the original permit. The tribes had no time to

   evaluate the impact of these withdrawals on the watersheds and wild rice. It also

   appears DNR was intentionally authorizing extraction of good, clean ground water to

   avoid other dewatering and cross-contamination issues. This is not meaningful and

   sufficient notification, especially when notification was avoided for months and not

   given directly to Tribal leaders.

56. Plaintiffs' usufructuary property rights to gather wild rice and other aquatic plants

   from the public waters in the 1855, 1854 and 1837 Treaty Territories, as well as other

   usufructuary property rights, are capable of repeated deprivation, by Defendants


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      public declarations of the intent to do so, at least with respect to the 1855 Treaty

      Territory and the unilateral 5 billion gallon appropriation by DNR.

57. These violations by Defendants are capable of repetition and misappropriation has not

      been stopped.

                                         Claim I
                   Federal-Treaty Rights Supremacy v. State Regulation
                      (Minnesota Department of Natural Resources)

58. Plaintiffs re-allege preceding paragraphs as if fully alleged again, here.

59. The claims of Defendants to ownership50 of wild rice (Manoomin), wild plants and

      animals in the public waters and on the public lands of the 1855, 1854 and 1837

      Treaty Territories, with respect to members of the Minnesota Chippewa Tribe, are

      contrary to the federal Treaty-recognized usufructuary property rights to hunt, fish

      and gather those wild plants and animals for their own subsistence.

60. Under color of law, Defendants statutory claims to ownership of public waters, wild

      rice, wild plants and animals vis-à-vis beneficiaries of the 1855 Treaty, the 1825 and

      1826 Treaties with the United State government violate federal statutes 10 Stat.1165,

      Apr. 7 1855; 7 Stat. 272, Aug. 19, 1825; and, 7 Stat. 290 , Aug. 5, 1826, on their face.

61. Defendants state statutory ownership claims are in direct contravention to the federal

      Treaty-recognized usufructuary property interests established in the Chippewa

      Treaties, ratified by the Senate, and memorialized in the Federal Code with respect to




50
     See https://www.revisor.mn.gov/statutes/cite/84.091

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   the 1855 Treaty Territory as interpreted by Minnesota v. Milles Lacs Band of

   Chippewa Indians, 526 U.S. 172 (1999).

                                    Claim II
     Due Process-Usufructuary Property Takings in the 1855 Treaty Territory
    (Minnesota Department of Natural Resources and Commissioner Landwehr)

62. Plaintiffs re-allege preceding paragraphs as if fully alleged again, here.

63. The claims of Defendants to ownership of wild plants and animals in the public

   waters and on the public lands of the 1855 Treaty Territory, under color of law, are

   contrary to the federal 1855 Treaty-recognized usufructuary property rights to hunt,

   fish and gather those wild plants and animals for their own subsistence, memorialized

   in the Federal Code. Treaty with the Chippewa, Feb. 22, 1855, 10 Stat., 1165, Ratified

   Mar. 3, 1855, Proclaimed Apr. 7, 1855. Art. 2.

64. Defendants state statutory claims to ownership of wild plants and animals vis-à-vis

   beneficiaries of the 1855 Treaty, the 1826 and 1825 Treaties with the United States

   has resulted in game, fish, wild ricing and other regulations that have prevented, and

   are preventing the exercise of Plaintiffs various Treaty-recognized usufructuary

   property rights in the 1855 Treaty Territory.

65. Under color of law, Defendants enforcement of above state regulations constitute a

   taking of federal treaty-recognized usufructuary property without Due Process or just

   compensation, in violation of the Fourteenth Amendment of the Constitution of the

   United States.

                                      Claim III
            Equal Protection vis-à-vis 1837 and 1854 Treaty Beneficiaries

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      (Minnesota Department of Natural Resources and Commissioner Landwehr)

66. Plaintiffs re-allege preceding paragraphs as if fully alleged again, here.

67. Defendants have acknowledged the validity of the treaty-recognized usufructuary

      property rights in the 1837 Treaty Territory, and 1854 Treaty Territory51, which the

      Minnesota DNR is obligated to recognize since 1999, 1993 and 1988 respectively.

68. The holding in Minnesota v. Milles Lacs, as clearly stated by Justice O'Connor made

      plain these usufructuary rights had not been abrogated by the 1855 Treaty. Minnesota

      v. Mille Lacs Band, at 195-96.

69. Defendants refused to apply the same standard to the application to 1855 Treaty

      Territory, to the detriment of thousands of members of the Minnesota Chippewa Tribe

      in the 1855 Treaty Territory.

70. In so doing, Defendants violated Plaintiffs' rights to equal protection of the laws under

      the Fourteenth Amendment to the Constitution of the United States, compared to

      members of Chippewa Bands located in the 1854 and 1837 Treaty Territories without

      rational basis and results in civil rights deprivations by Defendants.

                                      Claim IV
                    Fourth Amendment and Due Process Violations
         (Minnesota Department of Natural Resources, Commissioner Strommen
                 and assistant Commissioners Dodeen and Naramore)

71. Plaintiffs re-allege preceding paragraphs as if fully alleged again, here.

72. Plaintiffs water, 5 billion gallons of water, as property has been seized without proper

      Notice and Opportunity to be heard damaging federally Treaty-recognized

51
     https://www.revisor.mn.gov/statutes/2019/cite/97A.157/pdf

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   usufructuary property rights on public lands and waters within the 1855 Treaty

   Territory and, as such, were seized and unjustly taken from the Manoomin, the

   ecosystems, lakes, rivers and aquifers.

73. After the water as seized by DNR officials to give to Enbridge Line 3, Plaintiffs

   explained the direct interference with lawfully were exercising Treaty-recognized

   usufructuary rights to hunt, fish and gather but were cited and nonetheless, which will

   resulted in pecuniary loss, present and future damages for manoomin harvesters.

74. In so doing, Defendants violated Plaintiffs Fourth Amendment rights to be free from

   arbitrary and capricious seizure of 5 billion gallons of water and to be free from

   seizure of the tribal and personal water property rights, as part of federal Treaty-

   recognized usufructuary property rights. (PL 280 (b), 18 U.S.C. § 1162(b) and 28

   U.S.C. § 1360 (b&c)) and 44 Chippewa Treaties with the United States.

                                    Claim V
                First Amendment Religious and Cultural Practices
          (Minnesota Department of Natural Resources, Commissioner Strommen
                  and assistant Commissioners Dodeen and Naramore)

75. Plaintiffs re-allege preceding paragraphs as if fully alleged again, here.

76. Plaintiffs religious and cultural practices in the 1855 Treaty Ceded Territory and

   beyond are subject to the American Indian Religious Freedom Act (AIRFA), 42

   U.S.C. § 1996 and, as such, are protected by the First Amendment to the Constitution

   of the United States.

77. To the extent that unlawful Minnesota limitations of usufructuary property rights of

   the Chippewa people to fully engage in hunting, fishing and gathering to support their

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   religious, ceremonial and cultural activities, state of Minnesota hunting, fishing and

   gathering regulations in the 1855 Treaty Ceded Territory violate the First Amendment

   protections of Plaintiffs, guaranteed by the First Amendment and American Indian

   Religious Freedom Act (AIRA).

                                    Claim VI
                                 Failure to Train
      (Minnesota Department of Natural Resources, Commissioner Strommen
              and Assistant Commissioners Dodeen and Naramore)

78. Plaintiffs re-allege preceding paragraphs as if fully alleged again, here.

79. Defendants Minnesota DNR and DNR Commissioner Strommen and other DNR

   Conservation Officers defendants, acting under color of law, failed to provide

   adequate information and training to DNR staff, including Defendants Assistant

   Commissioners Dodeen and Naramore, in the lawful status of federal Treaty-

   recognized Chippewa usufructuary property rights in the 1855 Treaty Territory, to

   avoid unlawful enforcement of DNR regulations on tribal members.

80. The DNR was on notice, no later than the Minnesota v. Milles Lacs opinion in 1999,

   that all U.S. Chippewa Treaties in Minnesota retained Treaty-recognized usufructuary

   property rights to hunt, fish and gather in all public waters and lands in all of

   Minnesota, north of the 1825 Treaty boundary with the Lakota people.

81. DNR Commissioner Strommen is on NOTICE about Off-reservation tribal court

   jurisdiction and Rights of Manoomin by letter to the 1855 Treaty Authority stating

           Thank you for your correspondence dated June 1, 2021 (White Earth
           off reservation tribal court And Chippewa treaty protected uses of
           public lands) and June 7, 2021 (Protection of wild rice, wild rice waters

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           of the Chippewas’ of the Mississippi; Shell River and Rights of
           Manoomin). We appreciate the interest of the 1855 Treaty Authority in
           the issues raised in your letters.

See DNR Comm. Strommen letter dated 7-6-21 to Frank Bibeau, Executive Director of

1855 Treaty Authority attached as Exhibit I.

                                     Claim VII
                         Violations of Rights of Manoomin
      (Minnesota Department of Natural Resources, Commissioner Strommen
              and Assistant Commissioners Dodeen and Naramore)

82. Plaintiffs re-allege preceding paragraphs as if fully alleged again, here.

83. Defendants Minnesota DNR and DNR Commissioner Strommen and other DNR

   defendants (named or John Doe conservation officers), acting under color of law, are

   impermissibly interfering with the rights of tribal members to maintain their spiritual

   relationship with manoomin, free of DNR violating treaty recognized usufructuary

   and water property rights, giving away 5B gallons of surface and groundwater,

   without adequate and legal notice to affected tribes and members or consent.

84. The DNR was on notice, no later than the Minnesota v. Milles Lacs opinion in 1999,

   that all U.S.-Chippewa Treaties in Minnesota retained Treaty-recognized usufructuary

   property rights to hunt, fish and gather in all public waters and lands in all of

   Minnesota, north of the 1825 Treaty boundary with the Lakota people.

85. DNR Commissioner Strommen has acknowledged NOTICE about White Earth

   exercising Off-reservation tribal court jurisdiction and Rights of Manoomin by letter

   to the 1855 Treaty Authority responding



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            Thank you for your correspondence dated June 1, 2021 (White Earth
            off reservation tribal court And Chippewa treaty protected uses of
            public lands) and June 7, 2021 (Protection of wild rice, wild rice waters
            of the Chippewas’ of the Mississippi; Shell River and Rights of
            Manoomin). We appreciate the interest of the 1855 Treaty Authority in
            the issues raised in your letters.

See DNR Comm. Strommen letter dated 7-6-21 to Frank Bibeau, Executive Director of

1855 Treaty Authority attached as Exhibit I.

                                          Remedies

     1. Declaratory Relief that

           a. Manoomin, or wild rice, within all the Chippewa ceded territories possesses

               inherent rights to exist, flourish, regenerate, and evolve, as well as inherent

               rights to restoration, recovery, and preservation. These rights include, but

               are not limited to, the right to pure water and freshwater habitat; the right to

               a healthy climate system and a natural environment free from human-

               caused global warming impacts and emissions.

           b. Chippewa treaty beneficiaries, and in particular the Chippewas of the

               Mississippi have exclusive surface and groundwater rights under the

               Winter’s Doctrine to the public waters and aquifers, which necessarily

               requires free, prior, informed consent52 from the Chippewa before unilateral

               state permitting may be granted for commercial purposes.



52
  See also https://www.un.org/development/desa/indigenouspeoples/declaration-on-the-rights-
of-indigenous-peoples.html The United Nations Declaration on the Rights of Indigenous Peoples
(UNDRIP) was adopted by the General Assembly on Thursday, 13 September 2007

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           c. The Chippewas possess the Creator-given right to harvest manoomin, and

              protect and save manoomin seeds, including protecting the waters

              necessary for Manoomin to flourish within the 1855 ceded territory and

              beyond.

           d. Chippewa tribal members possess both a collective and individual right of

              sovereignty, self-determination, and self-government, which shall not be

              infringed by other governments or business entities claiming the right to

              override our rights. This shall include the right to enforce this law free of

              interference from corporations, other business entities, governments, or

              other public or private entities. These rights pre-date treaties and a derived

              from the individually held, usufructuary property rights protected by U.S.

              Constitutional due process, as part of the supreme law of the land.

           e. Other Tribal members party to Treaties with the Chippewa, with or without

              the United States, (like Council of the Three Fires https://native-

              americans.com/council-of-three-fires-confederacy/), which pre-date the

              U.S. and other colonial countries occupation in North America.

86. Injunctive Relief to

           a. Effectively and immediately rescind all the DNR water appropriation

              permits issued for Line 3 in this case, for commercial purposes, and in

              particular, Water Appropriation Permit No. 2018-3420 Enbridge Line 3

              Replacement Project, dated June 4, 2021.


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          b. Establish Surface and Ground Water Property and Joint Permitting

              Agreements with the State of Minnesota for the 1855 Treaty Territory, to

              prevent any further unilateral, surface and ground water permitting by the

              state of Minnesota DNR.




Dated: August 4, 2021                                 ___/s/ Frank Bibeau________
                                                      Frank Bibeau, Tribal Attorney
                                                      Joe Plumer, Tribal Attorney
                                                      For the Manoomin,
                                                      White Earth Band of Ojibwe,
                                                      Chippewas of the Mississippi,
                                                      Individual tribal members, non-
                                                      Indian Water protectors and the
                                                      1855 Treaty Authority




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             EXHIBIT A
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                                WHITE EARTH RESERVATION
                       CHAIRMAN Michael Fairbanks SECRETARY-TREASURER Leonard Alan Roy
                       DISTRICT I Raymond Auginaush, Sr. DISTRICT II Kathy Goodwin DISTRICT III Cheryl “Annie” Jackson




                                  Waters Report
           What Happens When the Water Goes Down?
                        July 16, 2021
TO:          White Earth Reservation Business Committee;
             Monica Hedstrom-Director of Natural Resources;
             White Earth Band of Ojibwe


FROM:        Keezer, Renee L., Pesticide Coordinator
             White Earth Department of Natural Resources
             B.S. Environmental Science: Environmental Health & Toxicology
             Emphasis
             B.A. Indigenous Studies


RE:          Minnesota Department of Natural Resources
             Amended Water Appropriation Permit #2018-3420
             5 billion gallons of water for Enbridge Line 3
             Summary and Comments

      An email was sent out by Randall Doneen from the Department of Natural
Resources on May 14, 2021, regarding a need to issue a new dewatering permit to
Enbridge for the Line 3 construction project. The amount of the previous permit was
510.5 million gallons was going to be exceeded in June and Enbridge needed a new
permit that allowed them to remove an additional 4,472 million gallons from
groundwater sources (unconfined aquifers). That is an additional 4.5 billion gallons.
We had a meeting on May 27, 2021, to discuss the new permit and any concerns that
we might have.

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       I asked if this was an amendment to the permit or a new permit. Randall Doneen
stated it was a new permit. The new dewatering permit was issued on June 4th, 2021.
During that meeting, Randall Doneen told me and others on the call that we would meet
again on June 7, 2021, to discuss our concerns. On May 28, 2021, Randall Doneen sent
an email that they were going to give a decision on the permit by the end of the week
of June 4th.The concerns Charlie Lippert from Mille Lacs voiced in the meeting on
May 27th were disregarded by the MPCA even though they were legitimate concerns
regarding the infiltration rates of the increased amounts of water they will be
displacing.
       The MPCA was given a 30-day comment period from March 11, 2021-April 10,
2021. The DNR was aware of the need for a new dewatering permit and had an
adequate amount of time to engage with and consult the tribes, but they did not. We
were given less than 30 days to submit comment from the time of notification to the
time the permit was issued. It was three weeks from the first notification sent on May
14th to the issuance of the permit. The meeting with There was only eight days from
the time we had a meeting to the time the permit was issued. This does not seem like
an adequate comment period or consultation. I am not aware of the DNR policy or
guidance is on the coordination and consultation with Minnesota Tribal Nations.
       On June 25th, 2021, the White Earth Tribal Council, White Earth legal
representation, and myself, attended a meeting with the DNR Commissioner Sarah
Strommen and several other DNR employees including Randall Doneen. The DNR
agreed that there was not adequate consultation or comment period given to the White
Earth and other tribes. There were no efforts made to rectify the lack of consultation.
A summary of the response given was that the DNR will try to do better in the future
to consult the tribes.
       When there is a rapid decrease of water, there are several significant ecological
impacts. These impacts have been exacerbated by the current severe drought that we
are in. More than half the State of Minnesota is in severe drought. Around 4% of the
State is in extreme drought. Some of these areas are directly on the Line 3 pipeline
route. These areas are in Red Lake County, Marshall County, Polk County, Beltrami
County, Clearwater County, and Hubbard County (NOAA, 2021). With decreased
water from lack of precipitation, evaporation, and transpiration, lakes and ponds are
shallower leading to increased temperatures in water. This causes a decrease in the
dissolved oxygen levels. Minnesota lakes and waterways are deoxygenating at a higher
rate than the oceans (Jane, 2021). Deoxygenation causes an increase in fish and
vegetation die-offs (DNR, Hot weather likely contributing to fish die-offs, 2021). The
decomposition of the fish and plants and warmer water causes the amounts of bacteria
that do not use oxygen to increase. These bacteria release methane, a greenhouse gas.
The warmer temperatures of lakes and ponds leads to an increase in instances of algae
blooms (eutrophication) (Marohn, 2021). Minnesota is currently seeing algae blooms

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earlier this year compared to non-drought years. These algae blooms are toxic to
people, pets, and wildlife and makes less lakes available for recreation use, thus
negatively impacting our economy, environment, wildlife, and human health.
        The dewatering during a drought brings concerns over loss of specific yield.
Specific yield is the volume of water available in the sediment of the ground (Johnson,
1967). The infiltration rates are decreased due to days of the topsoil being hardened in
the heat and sun. This decreased the ability of the water to infiltrate the soil. The
amounts of water being pulled from the groundwater reserves will not be able to
infiltrate at the rate it is pulled during a normal season. Much of the water removed
during the dewatering will run-off into the surface waters. Without precipitation and
infiltration, the spaces between the porous sediment may decrease and not be able to
expand to allow water into the spaces when precipitation does occur.
        Lowered surface waters and low amounts of precipitation, increases the
concentration of contaminants such as pesticides from non-point sources even though
the amount of pesticide use has not increased. Pesticide drift of runoff is the most
common way pesticides enter waterways. Aquatic organisms including fish and their
food sources, are at increased risk of exposure and contamination. (Program, 2021).
Agricultural regions are irrigating their crops due to the drought. The chemicals that
are running off into surface waters and groundwater recharge areas in higher than
typical concentrations. This is due to the same volume of chemicals being used but less
water to dilute it. Pesticide effectiveness is decreased during drought due to the absence
of moisture in the soil. Plants are not able to absorb the pesticides without the water to
help them grow. Microbial breakdown and hydrolysis is diminished during droughts.
There is less biological degradation to convert the pesticides into less toxic analytes.
Multiple applications of pesticides during drought can cause a buildup of concentration
and contribute to increased environmental contamination.
        Groundwater dewatering in Northern Minnesota decreases the amount of water
that is available to plants, surface waters, and sensitive wetlands. Many of our lakes are
recharged through springs from the groundwater as are numerous other surface waters
such as rivers, streams, and creeks. In October 2020, MPR released a story about a
water permit for a hog farm that would require 15 million gallons of water annually
from groundwater sources (Gunderson, 2020). The permit was held up due to the need
for a hydrologic assessment for possible negative impacts to a calcareous fen that was
a few miles away. The DNR identified it as having “potentially significant resource
impacts. The science behind the concerns of the impacts to the neighboring wetlands
is sound. Why was this scientific approach not taken regarding the Line 3 dewatering
permits? The amount of water siphoned from the unconfined aquifers for this project
is over 300 times the amount requested for the hog farm. The DNR states that the




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dewatering is not going to have any significant impacts to the wetlands that the pipeline
is going through however, hydrological science has shown that the dewatering will
have negative impacts. These impacts are observable in the rice lakes and other surface
waters and wetlands in the region. The water levels in the Lower Rice Lake on the
White Earth Reservation are so low that it will be difficult if not impossible to harvest
wild rice year. The science has been ignored for this project. How will 15 million
gallons impact a wetland that is within three miles of the farm, but 5 billion gallons
will not impact wetlands that the water is being directly extracted from?
       Q90 is a number that is a way to measure drought conditions based on stream
flow. The value indicates that 90% of the time, stream flow has been greater than that
value. In other words, the stream flow has only been that level or below 10% of the
time. Once the stream flow levels are below the Q90 value, it is considered a protected
low flow level in Minnesota and is used for suspending water appropriation permits
(DNR, Measuring Hydrology, 2021). As of 07/11/2021, approximately 25% of the state
is at minimum flows where the flows in the rivers and streams are below the annual
Q90 protection levels. An additional approximate of 25% of the State of Minnesota is
in low flows where the monthly Q75 exceedance levels have been matched (DNR,
2021). This is the worst drought in Minnesota in 127 years.
       Despite the severe and extreme drought conditions, Enbridge is still pulling
surface waters from the Mississippi River (surface water) at the Mississippi River
Crossing #1 on Great River Road. Q90 has been reached yet Enbridge gets an exception
to the rule for surface water and ground water permits. Trees in the region are showing
signs of drought stress. It is mid-July and quaking aspens are losing their leaves. Fruit
bearing plants such as blueberries are not producing this year due to the lack of water.
The steady lowering of the water table from the dewatering and the drought has made
ground water less accessible for trees and plants. This has impacts on the wildlife as
well. Continuing to extract ground water and surface water has the potential to lead to
significant losses of biodiversity in plants, animals, and fish and could lead to a
potential collapse in various ecosystems throughout the region.
       Other impacts that have not been discussed or addressed is the potential for
widespread contamination in the event of a leak or spill. The regions where dewatering
is necessary to construct the line leaves the entire region at risk of contamination. If the
water table does return to normal after completion of the project, this pipeline will be
completely submerged in the groundwater of the aquifers. A spill or leak would
permanently impair the water. There is no feasible way to clean-up this type of
contamination as is seen at the Pinewood crude oil spill research site near Bemidji, MN,
where there is 17-22 inches of oil in the aquifer from a pipeline rupturing in 1979. It
was one of the largest pipeline spills in Minnesota. There is no way to remediate the
contamination. We are only able to monitor the underground movement of the oil. The

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contamination and damage from a spill along the new route would be severely degrade
the environment and to the quality of life of people that are dependent on the water for
their wells. The Minnesota tourist economy would be negatively impacted as well.
       The lack of science-based decision making in this permitting process is alarming
but not as much as the complete disregard to the Traditional Ecological Knowledge
(TEK) and Treaty Rights regarding the water and wild rice. These rights are not
confined to the borders of the reservation, but to the borders of the ceded territory. The
members of the Minnesota Chippewa Tribe retain rights to the resources including the
water. Every aspect of Ojibwe history and life is tied to the water and rice. Spiritual,
cultural, physical, and economic. It is a foundation of their identity as a Nation of
people. For years, members of the Minnesota Chippewa Tribe have been stating the
negative impacts that this project will have on the water and wild rice. The wild rice is
the reason the Ojibwe migrated to this region hundreds of years ago. It is a part of the
Ojibwe prophesies. To go to where the food grows on the water. The Ojibwe are here
specifically to protect the water and wild rice.
       The Minnesota Department of Natural Resources has shown that the science
does matter with regards to management of the resources. Perhaps the DNR needs to
be reminded that the State of Minnesota would not exist without the treaties and that
the Treaties do not give the Ojibwe rights to the land and resources, those rights have
always been retained as they are the inherent Sovereigns but grants rights to the non-
indigenous people to occupy the land and utilize the resources. Article 6 of the United
States constitution states “All Debts contracted and Engagements entered into, before
the Adoption of this Constitution, shall be as valid against the United States under this
Constitution, as under the Confederation. This Constitution, and the Laws of the United
States which shall be made in Pursuance thereof; and all Treaties made, or which shall
be made, under the Authority of the United States, shall be the supreme Law of the
Land; and the Judges in every State shall be bound thereby, any Thing in the
Constitution or Laws of any State to the Contrary notwithstanding. The Senators and
Representatives before mentioned, and the Members of the several State Legislatures,
and all executive and judicial Officers, both of the United States and of the several
States, shall be bound by Oath or Affirmation, to support this Constitution; but no
religious Test shall ever be required as a Qualification to any Office or public Trust
under the United States.”. Every elected official and police officer has sworn to uphold
the constitution and in doing so, have sworn to uphold the treaties.
       The blatant disregard to Tribes’ rights and concerns, the hydrological science,
and current environmental status with the drought and heatwaves due to the changing
climate from petroleum use and extraction, shows that the economic influence of a
foreign corporation takes precedence over the adequate protection and management of
the environment.


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              EXHIBIT B
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                Minnesota Department of Natural Resources
                   500 Lafayette Road Saint Paul, Minnesota 55155-4037
                                        Office of the Commissioner
                                                  651-259-5555                                                          MNDNR


February 5, 2016


Ms. Beverly Jones Heydinger
Chair
Minnesota Public Utilities Commission
 121 7th Place East
Suite 350
St. Paul, MN 55101-2147


Re:     Ln re Application of Enbridge Energy
        MPUC Docket No. PL-9/CN-14-916


Dear Chair Heydinger:


        I am writing regarding a recent petition made by the White Earth Band of Ojibwe (Band)


to intervene in the above-captioned proceedings. The Petition was premised in part on a claim

made by the Band that it has off reservation hunting, fishing and gathering rights (usufructuary

rights) in the 1855 ceded territory.


        The Minnesota Department of Natural Resources (DNR) is not a party in the above


referenced proceeding and, in light of DNR's role in assisting in the preparation of


environmental review documents for this proposed project, the DNR has opted not to intervene

in these proceedings as a party. The DNR is, however, concerned about any ruling the Public


Utilities Commission (PUC) might make regarding the Band's claim that it has usufructuary


rights in the 1855 ceded territory in the context of addressing the Band's request to intervene in


these proceedings. A PUC decision to permit the Band to intervene in these proceeding

premised on claimed usufructuary rights could have legal implications reaching well beyond

these proceedings. The DNR, therefore, requests that if the PUC permits the Band to intervene it


         DNR Information 651-296-6157 or 1-888-646-6367 TTY 651-296-5484 or 1-800-657-3929 FAX 651-296-4779 www.mndnr.gov
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do so using its discretionary authority without addressing the Band's claim that it has

usufructuary rights in the 1855 ceded territory.

Thank you in advance for your attention to this matter.


Sincerely,




Dave Schad
Deputy Commissioner
Minnesota Department of Natural Resources




cc:      Sherry Enzler, General Counsel
         Jamie Schrenzel, Environmental Review

23.0005 02-02-16 Ltr.IIydingerrcWEBand




             DNR Information 651-296-6157 or 1-886-646-6367 TTY 651-296-5484 or 1-800-657-3929 FAX 651-296-4779 www.mndnr.gov
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             EXHIBIT D
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April 10, 2020

Commissioner Laura Bishop
Minnesota Pollution Control Agency
520 Lafayette Road North
St. Paul, Minnesota 55155-4194

Submitted online at http://401wqc.mpca.commentinput.com/

Re:    Clean Water Act Section 401 Permitting for Enbridge Line 3 Project
       Tribal Water Rights and Environmental Jurisdiction Comments

Commissioner Bishop:

        These comments are submitted on behalf of the Red Lake Band of Chippewa
Indians and White Earth Band of Ojibwe, in addition to the Joint Comments filed on
behalf of Friends of the Headwaters, Sierra Club, and Honor the Earth, with the Red Lake
Band of Chippewa Indians and White Earth Band of Ojibwe.
        The purpose of these comments are to raise concerns regarding federally and
treaty protected Chippewa Tribal Water Rights and Environmental Jurisdiction, which
ultimately require free, prior, informed consent before the Minnesota Pollution Control
Agency may grant a regulatory easement or permit across water resources in which the
state and Tribes have a common property interests, but individual rights. Consequently,
because the MPCA’s Line 3 water quality permitting violates federal laws protecting
important Chippewa water rights, the Red Lake Band of Chippewa Indians and White
Earth Band of Ojibwe formally request a full hearing, with contested case proceedings on
the record for this matter.
        If you have any questions or need of further assistance with regard to these matters
please call on Mr. Joseph Plumer or myself. Mii gwitch.

       /s/ Joseph Plumer                                /s/ Frank Bibeau
       Joseph Plumer, Attorney                          Frank Bibeau, Attorney
       Red Lake Band of Chippewa Indians                White Earth Band of Ojibwe
       9352 North Grace Lake Road                       51124 County Road 118
       Bemidji, MN 56601                                Deer River, MN 56636
       Telephone: (218) 556-3824                        Telephone: (218) 760-1258
       Email: jplumer@paulbunyan.net                    Email: frankbibeau@gmail.com
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        Chippewas’ Tribal Water Rights and Environmental Jurisdiction
        Comments to MPCA from Red Lake Band of Chippewa Indians
        and the White Earth Band of Ojibwe for Line 3 CWA permitting

I.     THE CLEAN WATER ACT (CWA) DOES NOT APPLY TO INDIAN TRIBES
       BECAUSE CONGRESS DID NOT INDICATE A CLEAR AND PLAIN INTENT
       FOR THE ACT TO APPLY TO INDIAN TRIBES AS EVIDENCED BY THE
       PLAIN LANGAUGE, LEGISLATIVE HISTORY, AND SURROUNDING
       CIRCUMSTANCES OF THE ACT

       Limitations on tribal self-government and inherent tribal sovereign authority cannot be

implied; any limitation must be expressly stated or otherwise made clear from surrounding

circumstances and legislative history. In this case, the MPCA may not apply the provisions of the

Clean Water Act (CWA) to the impacted Indian tribes without a clear and plain intent by

Congress. Without a clear and plain intent by Congress for the CWA to apply to Indian tribes,

the Minnesota Pollution Control Agency (MPCA) may not properly impose the requirements of

these laws if they impact the tribes’ rights of self-governance.

        A.     Longstanding Federal Indian Law Principles Require a Clear and Plain
               Intent by Congress to Limit Tribes of Their Inherent Sovereign Authority

       “For nearly two centuries now, [the Supreme Court] has recognized Indian tribes as

‘distinct, independent political communities,’ qualified to exercise many of the powers and

prerogatives of self-government[.]” Plains Commerce Bank v. Long Family Land & Cattle Co.,

554 U.S. 316, 327 (2008) (citations omitted). “Although no longer ‘possessed of the full

attributes of sovereignty,’ [Indian tribes] remain a ‘separate people, with the power of regulating

their internal and social relations.’” Santa Clara Pueblo v. Martinez, 436 U.S. 49, 55 (1978)

(citations omitted). Inherent in an Indian tribe’s sovereignty is the tribe’s power to “make their

own substantive law in internal matters and to enforce that law in their own forums.” Id. at 55–

56 (1978) (citations omitted). An Indian tribe’s “general authority, as [a] sovereign” includes the
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power “to control economic activity within its jurisdiction[.]” Merrion v. Jicarilla Apache Tribe,

455 U.S. 130, 137 (1982). The Supreme Court recognizes the unique nature of Indian tribes in

the United States, and does not view tribes as private organizations. United States v. Mazurie,

419 U.S. 544, 557 (1975) (stating that the Supreme Court’s decisions “establish the proposition

that Indian tribes within ‘Indian country’ are a good deal more than ‘private, voluntary

organizations’”).

       As dependent sovereigns, Indian tribes are subject to Congress’ plenary authority. United

States v. Lara, 541 U.S. 193, 200 (2004) (“[T]he Constitution grants Congress broad general

powers to legislate in respect to Indian tribes, powers that we have consistently described as

‘plenary and exclusive.’”) (citations omitted). The Supreme Court has repeatedly recognized that

Congress is the branch of government best-equipped “to weigh and accommodate the competing

policy concerns” when deciding whether to limit the inherent sovereignty or treaty rights of

Indian tribes. Michigan v. Bay Mills Indian Cmty., 134 S. Ct. 2024, 2037–38 (2014) (citation

omitted). But “unless and until Congress acts, the tribes retain their historic sovereign authority.”

Id. at 2030. Additionally, “courts will not lightly assume that Congress in fact intends to

undermine Indian self-government.” Id. at 2032.

       The Supreme Court has long held that courts may construe a federal statute as impairing

tribal sovereignty only if Congress clearly expresses its intent to reach that result. See, e.g.,

Merrion v. Jicarilla Apache Tribe, 455 U.S. 130, 149–52 (1982); see also Santa Clara Pueblo v.

Martinez, 436 U.S. 49, 60 (1978) (“[A] proper respect both for tribal sovereignty itself and for

the plenary authority of Congress in this area cautions that we tread lightly in the absence of

clear indications of legislative history.”); Cohen’s Handbook of Federal Indian Law § 2.01[1], at
                                                   3
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110 (Nell Jessup Newton ed., 2012) (“Judicial deference to the paramount authority of Congress

in matters concerning Indian policy remains a central and indispensable principle of the field of

Indian law.”). A clear and plain intent may be demonstrated by an “express declaration” in the

statute, by the “legislative history,” and by “surrounding circumstances.” United States v. Dion,

476 U.S. 734, 739 (1986).

       Respect for tribal self-government is reflected in two canons of construction. First,

“statutes are to be construed liberally in favor of the Indians, with ambiguous provisions

interpreted to their benefit[.]” Montana v. Blackfeet Tribe of Indians, 471 U.S. 759, 766 (1985).

Second, when Indian tribes are concerned, courts are to “tread lightly in the absence of clear

indications of legislative intent.” Merrion, 455 U.S. at 149.

       Here, the application of the CWA, which is silent on the subject of Indian tribes, would

be inconsistent with longstanding federal Indian law principles. These principles include the

settled Indian law canon of construction that requires construing silence in favor of Indian tribes

and the principle that Congress may limit tribal self-government, but only when it expresses a

clear and plain intent to do so. Inherent in the inherent sovereignty of Indian tribes is the power

to make its own substantive law in internal matters and to enforce that law in their own forum.

Because the CWA does not expressly include Indian tribes in the text of the statutes or the

legislative history of the laws, the presumption is that Indian tribes’ inherent sovereign authority

continues to exist in the areas of environmental and water quality. This means that the impacted

tribes may adopt and enforce their own environmental protection and water quality standards in

their own forums based on their inherent sovereign authority.



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        Additionally, the MPCA must defer to Congress’ paramount authority in matters

concerning Indian policy to respect the unique relationship between Indian tribes and the United

States. The MPCA must also defer to the inherent sovereign authority of the impacted tribes to

adopt and enforce their own environmental protection and water quality regulations in their own

forums. Accordingly, in the absence of a clear and plain intent by Congress for the CWA to

apply to Indian tribes, the MPCA may not properly assert jurisdiction over the impacted tribes.


II.     THE CWA DOES NOT APPLY TO THE IMPACTED TRIBES BECAUSE THE
        ENVIRONMENTAL PROTECTION AND WATER QUALITY REGULATIONS
        ARE REGARDED AS STRICTLY INTERNAL MATTERS UNDER EIGHTH
        CIRCUIT PRECEDENT
        A.      The United States Supreme Court’s Decision in Tuscarora is the Starting
                Point to Determine Whether Federal Laws of General Applicability Apply to
                Indian Tribes

        The United States Supreme Court’s decision in Fed. Power Comm’n v. Tuscarora Indian

Nation, 362 U.S. 99, 116 (1960), concluded that it is “now well settled by many decisions of this

Court that a general statute in terms applying to all persons includes Indians and their property

interests.” However, the Supreme Court’s statement in Tuscarora was not part of the Court’s

holding or necessary to it because there was ample evidence supported by congressional intent to

apply the particular statute at issue to the off-reservation land owned by the Tuscarora Indian

Nation in fee simple.1




1
  See NLRB v. Little River Band of Ottawa Indians Tribal Gov’t, 788 F.3d 537, 557 (6th Cir. 2015)
(McKeague, J., dissenting) (“While the Tuscarora statement has blossomed into a ‘doctrine’ in some
courts in relation to some federal laws, closer inspection of the Tuscarora opinion reveals that the
statement is in the nature of dictum and entitled to little precedential weight.”); San Manuel Indian Bingo
& Casino v. NLRB, 475 F.3d 1306, 1311 (D.C. Cir. 2007) (stating that the Tuscarora statement is in
tension with “longstanding principles” of federal Indian law and of “uncertain significance”).
                                                       5
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        In Tuscarora, the Supreme Court addressed the issue of whether the Federal Power Act

(“FPA”) authorized the condemnation of off-reservation land owned in fee simple by the

Tuscarora Indian Nation. Id. at 110 (describing the issue in the case as “whether the Tuscarora

lands covered by the Commission’s license are a part of a ‘reservation’ as defined and used in

the Federal Power Act”). The Court held that the FPA did authorize the condemnation of off-

reservation land owned by the Tuscarora Indian Nation. Id. at 123. To resolve the issue, the

Court looked to whether the FPA covered off-reservation lands owned by Indian tribes. Id. The

Court concluded that the FPA “gives every indication that, within its comprehensive plan,

Congress intended to include lands owned or occupied by any persons or persons, including

Indians.” Id. at 118. Ultimately, the Court determined that because the Tuscarora Indian Nation

owned the land in fee simple, the lands did not satisfy the statutory definition of “reservation,”2

and thus the federal government’s taking of the land was permitted under the FPA. Id.

        Here, unlike the CWA, which do not mention Indian tribes in the text of the statute or its

legislative history, the FPA gave “every indication” to include lands owned or occupied by any

landowner. Additionally, in Tuscarora, the Supreme Court addressed only issues of land

ownership, not “questions pertaining to the tribe’s sovereign authority to govern land.” NLRB v.

Pueblo of San Juan, 276 F.3d 1186, 1198 (10th Cir. 2002). The Court’s statement in Tuscarora

regarding statutes of general applicability was “made in the context of property rights, and [does]

not constitute a holding as to tribal sovereign authority to govern.” Id. at 1199. Furthermore, all


2
  The FPA defines “reservation” to include “national forests, tribal lands embraced within Indian
reservations, military reservations, and other lands and interests in lands owned by the United States, and
withdrawn, reserved, or withheld from private appropriation and disposal under the public land laws; also
lands and interests in lands acquired and held for any public purposes; but shall not include national
monuments or national parks[.]” 16 U.S.C. § 796(2).
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three cases that the Court cited in support of its statement addressed only whether federal tax

statutes applied to individual Indians.3 These cases do not address the very different question of

whether a federal statute should be construed as displacing a tribe’s inherent sovereign authority.

Additionally, in the sixty years since Tuscarora was decided, the Supreme Court has never cited

the statement again.

        Because the Supreme Court’s statement in Tuscarora is dicta that is inconsistent with

longstanding federal Indian law principles, the MPCA may not properly rely on Tuscarora to

assert jurisdiction over the impacted tribes. Rather, the MPCA must defer to applicable federal

Indian law principles and relevant Eighth Circuit precedent, and focus on how the application of

the CWA to the impacted tribes displaces the tribes’ inherent sovereign authority to regulate

internal matters.

        B.      The Minnesota Pollution Control Agency Must Defer to Eighth Circuit
                Precedent to Determine Whether the Permitting Processes Now Before the
                Agency are Applicable to Indian Tribes

        Tribes located in Minnesota are within the jurisdiction of the United States Court of

Appeals for the Eighth Circuit. Therefore, the MPCA must defer to Eighth Circuit precedent to

determine whether the CWA may be applied to the impacted tribes.

        In EEOC v. Fond du Lac Heavy Equip. & Const. Co., 986 F.2d 246 (8th Cir. 1993), the

Eighth Circuit held that Age Discrimination in Employment Act (“ADEA”), a generally

applicable federal statute,4 does not apply to an employment discrimination action involving a


3
  See Okla. Tax Comm’n v. United States, 319 U.S. 598 (1943); Superintendent of Five Civilized Tribes v.
Comm’r, 295 U.S. 418 (1935); Choteau v. Burnet, 283 U.S. 691 (1931).
4
  The ADEA defines the term “employer” to mean “a person engaged in an industry affecting commerce
who has twenty-five or more employees” and also mean “(1) any agent of such person, and (2) a State or
                                                   7
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member of an Indian tribe, a tribal equipment and construction company as the employer, and

reservation employment because the “dispute involves a strictly internal matter” and application

of the ADEA would affect the “tribe’s specific right of self-government.” Id. at 249. Notably, in

Fond du Lac, the Eighth Circuit rejected the Ninth Circuit’s framework in Donovan v. Coeur d’

Alene Tribal Farm, 751 F.2d 1113 (9th Cir. 1985) in applying generally applicable federal

statutes to Indian tribes. Id. 248 n.3 (noting that the Ninth Circuit’s application of its “self-

government exception” to Tuscarora’s presumption “is limited to purely intramural matters such

as conditions of tribal membership, inheritance rules, and domestic relations”).

        First, in Fond du Lac, the Eighth Circuit acknowledged the Supreme Court’s broad

language in Tuscarora, but concluded that an internal ADEA dispute between an Indian tribe and

a tribal member affects “the tribe’s specific right of self-government” such that the “general rule

of applicability [from Tuscarora] does not apply.” Id. at 249. The court explained that “[s]pecific

Indian rights will not be deemed to have been abrogated or limited absent a ‘clear and plain’

congressional intent.” Id. (citing United States v. Dion, 476 U.S. 734, 738 (1986). Additionally,

the court further explained that “[a]lthough the specific Indian right involved usually is based

upon a treaty, such rights may also be based upon statutes, executive agreements, and federal

common law.” Id. at 248.

        In Fond du Lac, the Eighth Circuit determined that the “dispute [at issue in the case]

involves a strictly internal matter.” Id. at 249. The Eighth Circuit characterized the dispute in

issue in the case as “between an Indian applicant and an Indian tribal employer.” Id. Because the

political subdivision of a State, and any interstate agency, but such term does not include the United
States, a corporation wholly owned by the Government of the United States, or a State or political
subdivision thereof.” 29 U.S.C. § 630(b).
                                                       8
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“Indian applicant is a member of the tribe, and the business is located on the reservation[,]” the

court found that “[s]ubjecting such an employment relationship between the tribal member and

his tribe to federal control and supervision dilutes the sovereignty of the tribe.” Id. The court

further explained:

       The consideration of a trib[al] member’s age by a tribal employer should be
       allowed to be restricted (or not restricted) by the tribe in accordance with its
       culture and traditions. Likewise, disputes regarding this issue should be allowed
       to be resolved internally within the tribe. Federal regulation of the tribal
       employer’s consideration of age in determining whether to hire the member of the
       tribe to work at the business located on the reservation interferes with an
       intramural matter that has traditionally been left to the tribe’s self-government. Id.
       at 249.


       In conclusion, the Eighth Circuit found that because the tribe’s right self-government

could be such a “specific right,” whenever a general federal regulatory law interfered with tribal

self-government, the law was not applicable to Indian tribes absent clear evidence of

congressional intent for the law to apply. Id. Under the Eighth Circuit’s framework, there is no

presumption that a federal statute of general applicability applies to Indian tribes as in the Ninth

Circuit.

       C.      The Impacted Tribes’ Regulation of Their Own Environmental Protection
               and Water Quality Standards are Strictly Internal Matter that Fall Solely
               within the Jurisdiction of the Impacted Tribes.

       Here, the issues of environmental protection and water quality regulation by the impacted

tribes are internal matters and the application of the CWA would interfere with the impacted

tribes’ “specific right of self-government.” See Fond du Lac, 986 F.2d at 249. Like the ADEA,

the CWA are generally applicable federal statutes that do not mention Indian tribes in the text of


                                                  9
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the statutes or in their legislative history. Furthermore, the application of the CWA to the

impacted tribes would interfere with the tribes’ exercise of self-government by restricting the

tribes from adopting and enforcing their own environmental protection and water quality

standards in their own forums. MPCA and federal regulation of the environmental protection and

water quality of the impacted tribes substantially interferes with the internal matters of the tribes.

Consequently, the Red Lake Band of Chippewa Indians and White Earth Band of Ojibwe

formally requests a full hearing, with contested case proceedings.

III.    CONGRESS SPECIFICALLY AND EXPRESSLY EXEMPTED WATER RIGHTS
        FROM THE 1953 JURISDICTIONAL GRANT UNDER PUBLIC LAW 280 TO
        ALL STATES INCLUDING MINNESOTA.

        A.     Public Law 280 specifically and expressly applies to all of Indian Country
               within the State of Minnesota, except the Red Lake Reservation.

        Public Law 83-280 (18 U.S.C. § 1162(b) and 28 U.S.C. § 1360(b)) does not

        authorize the alienation, encumbrance, or taxation of any real or personal
        property, including water rights, belonging to any Indian or any Indian tribe,
        band, or community that is held in trust by the United States or is subject to a
        restriction against alienation imposed by the United States; or shall authorize
        regulation of the use of such property in a manner inconsistent with any Federal
        treaty, agreement, or statute or with any regulation made pursuant thereto; or shall
        deprive any Indian or any Indian tribe, band, or community of any right, privilege,
        or immunity afforded under Federal treaty, agreement, or statute with respect to
        hunting, trapping, or fishing or the control, licensing, or regulation thereof.

Public Law 280 (18 U.S.C. § 1162(b), 28 U.S.C. § 1360(b)).

        Here, the Minnesota Pollution Control Agency is attempting to unilaterally

deprive Chippewa Tribes’ and treaty beneficiaries’ rights to protect and maintain the

abundant, high quality, clean waters necessary for Manoomin (wild rice) and other

important fisheries and natural aquatic resources’ ecosystems. The Chippewa tribes and
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members understand that public waters of Minnesota and the natural resources which rely

upon them are threatened and/or impacted; and are where most of the wild rice grows.

The Chippewa tribes and members cannot ignore that Climate change affects lakes,

walleye in complex ways5 and that the State is trying to preserve as few as 176 designated

refuge lakes, where walleye’s favorite food the tullibee still live, hoping the tullibee will

be able to survive even with continued warming. It is obvious that the State is not able to

adequately protect waters and fisheries. The Chippewa tribes and members understand

that any increase in tar sands extraction will only speed up climate change and compound

environmental and aquatic problems in Minnesota, and when walleye fishing people can’t

fish Mille Lacs, they usually shift further north to Big Sandy, Pokegama, Big

Winnibigoshish, Cass Lake and Leech Lake, which are all original 1855 reservations.

       As part of the Line 3 environmental review process the White Earth Band of Ojibwe

helped develop and has adopted the Minnesota Chippewa Tribe’s Anishinabe Cumulative

Impacts Assessment (ACIA) as the White Earth Band’s environmental risk and evaluation tool

for the meaningful assessment of the short and long term impact of the abandonment of the

existing Line 3 pipeline, as well as the impacts from tar sands extraction, greenhouse gases,

climate change and additional, future pipeline abandonment from the decreased demand for

crude oil. The Red Lake Band of Chippewa Indians adopted Resolution No. 58-18 opposing the

new corridor and pipeline abandonment for Line 3 and Finding the ACIA superior to the Public

Utilities Commission’s Environmental Impact Statement (EIS) and chose the No Build

Alternative.

5
 See Climate change affects lakes, walleye in complex ways, by Elizabeth Dunbar on Minnesota Public
Radio, Sept. 9, 2015 at https://www.mprnews.org/story/2015/09/09/walleye-climate-change
                                                  11
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       The White Earth Band of Ojibwe also Found that the Minnesota Chippewa Tribe’s

Anishinabe Cumulative Impacts Assessment superior to the EIS that has been approved by the

Minnesota PUC in examining the cumulative impacts from the proposed Line 3 project upon

surface waters, groundwater, fish, wildlife, waterfowl, wild rice, plants, as well as the broader

environmental consequences resulting from the proposed Line 3 project. These cumulative

impacts necessarily require denying the Line 3 Pipeline Replacement 401 permits. The MPCA

must deny the route corridor across the 1855 ceded territory for being in violation of White Earth

Band of Ojibwe established off-reservation conservation codes and customs and most

importantly for lacking the required consent from the Chippewas of the Mississippi as co-owners

of the freshwater resources.

       Therefore, the White Earth Band of Ojibwe and Red Lake Band of Chippewa Indians

require written confirmation from the State of Minnesota MPCA that separate, free and prior,

informed consent (as required by the United Nations Declaration on the Rights of Indigenous

Peoples (UNDRIP)) is required by and from the Chippewas as riparian, water rights co-owners--

for considering to permit this Line 3 pipeline project regulatory easement across the ceded

territories’ natural resources and waters that unite them. Consequently, because the MPCA’s

Line 3 water quality permitting violates federal laws protecting important Chippewa water rights,

the Red Lake Band of Chippewa Indians and White Earth Band of Ojibwe formally requests a

full hearing, with contested case proceedings on the record.

       B.      Chippewa Water Quality Property Rights.

       Over 100 years ago the United States Supreme Court established the Winters Doctrine,

which provided for a first in time, priority reserved rights (in waters that arise on, border,


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traverse, or underlie reservations). When the federal government created the Indian reservations,

water rights were reserved in sufficient quantity to meet the purposes for which the reservations

were established. Winters v. United States, 207 U.S. 564 (1908). Two decades ago the United

States Supreme Court held we are to “interpret Indian treaties to give effect to the terms as the

Indians themselves would have understood them.” Minnesota v. Mille Lacs Band of Chippewa

Indians, 526 U. S. 172, 196 (1999), Treaties are to be “interpreted liberally in favor of the

Indians,” id. at 194 n. 5, and any ambiguities are to be resolved in the Indians' favor, Winters v.

United States, 207 U.S. 564, 576–77 (1908). See also United States v. Bresette, 761 F. Supp.

658, 661 (D.Minn.1991) (“It is axiomatic that Indian treaty rights are to be afforded a broad

construction and, indeed, are to be interpreted as the Indians understood them because the

Indians were generally unlettered and the government had great power over the Indians with a

corresponding responsibility toward them.” (Emphasis in original)).

       A year ago the United States Supreme Court in Herrera v. Wyoming, 587 U.S. ___ (May

20, 2019) re-affirmed Mille Lacs treaty rights analysis declaring that “[t]his case is controlled by

Mille Lacs”, which established that the crucial inquiry for treaty termination analysis is whether

Congress has “clearly express[ed]” an intent to abrogate an Indian treaty right, 526 U. S., at 202,

or whether a termination point identified in the treaty itself has been satisfied, id., at 207. In

Mille Lacs, the Court declared “[i]n fact, the entire 1855 Treaty is devoid of any language

expressly mentioning usufructuary rights or providing money for abrogation of those rights.

These are telling omissions, since federal treaty drafters had the sophistication and experience to

use express language when abrogating treaty rights. The historical record, purpose, and context




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of the negotiations all support the conclusion that the 1855 Treaty was designed to transfer

Chippewa land to the United States, not terminate usufructuary rights.”

        For the 20,000 present day Chippewas of the Mississippi clean water is inextricably

linked to the self-sufficiency, economic development and security of present and future

generations of northern Minnesota’s tribal communities. The circuitous nature of the upper

Mississippi River in particular begins adjacent to the White Earth reservation (established by the

1867 Treaty) and then flows through the 1855 ceded territory reservations of Cass Lake,

Winnibigoshish, Pokegama, Sandy, Rabbit and Gull Lakes, and then forms the border between

the Chippewa territories ceded in 1847 and 1837, with interconnected tributaries, upstream and

downstream in all aquatic ecosystems which are the primary sources for important, primary

treaty foods like manoomin (wild rice) environments and fisheries.

        The best, recent federal cases that best explain how Chippewa rights should be

recognized and understood are Minnesota v Mille Lacs6 (1999) and U.S. v Brown et al7 (8th

2015), also known as Operation SquareHook. The Brown Court reaffirms Mille Lacs and how

        The United States made several treaties with Chippewa Indians during the
        nineteenth century, including two relevant to this case. In July 1837, over one
        thousand Chippewa Indians gathered at Fort Snelling while their chiefs negotiated
        with Wisconsin Territorial Governor Henry Dodge who represented the United
        States. Documents Related to the Negotiation of the Treaty of July 29, 1837,
        reprinted in Satz, Chippewa Treaty Rights 131–153, at 131 (“1837 Treaty
        Journal”). The United States sought to purchase land east of the Mississippi River


6
 See Minnesota v. Mille Lacs Band of Chippewa Indians, 526 U.S. 172 (1999).
7
 See U.S. v. Brown, 777 F.3d 1025 (8th Cir. 2015). (It is well settled, however, that an individual Indian
may assert usufructuary rights in a criminal prosecution. For example, the Supreme Court stated in United
States v. Dion that hunting and fishing “treaty rights can be asserted by Dion as an individual member of
the Tribe.” 476 U.S. at 738 n. 4, 106 S.Ct. 2216. Evaluating usufructuary rights in United States v.
Winans, the Court explained that while “the negotiations were with the tribe,” treaties “reserved rights,
however, to every individual Indian, as though named therein.” 198 U.S. at 381, 25 S.Ct. 662.
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           in present day central Minnesota and Wisconsin because of its desirable pine
           timber. Id. at 131–32, 140.

           During these negotiations, the Chippewa chiefs emphasized the importance of
           reserving their rights to fish, hunt, and gather on the land, also called usufructuary
           rights. According to the treaty journal, Ma-ghe-ga-bo stated, “Of all the country
           that we grant to you we wish to hold on to a tree where we get our living, & to
           reserve the streams where we drink the waters that give us life.” 1837 Treaty
           Journal at 142.

           The secretary who recorded the proceedings noted that he transcribed the
           statement as provided by the underqualified interpreters, but he “presume[d] it to
           mean that the Indians wish to reserve the privilege of hunting & fishing on the
           lands and making sugar from the Maple.” Id. Flat Mouth, chief of the Pillager
           band which resided at Leech Lake, reiterated the importance of reserving
           usufructuary rights on the ceded lands:

                  My Father. Your children are willing to let you have their lands, but they
                  wish to reserve the privilege of making sugar from the trees, and getting
                  their living from the Lakes and Rivers, as they have done heretofore, and
                  of remaining in this Country.... You know we can not live, deprived of
                  our Lakes and Rivers; ... we wish to remain upon them, to get a living.8

           Governor Dodge agreed to reserve these rights for the Chippewa Indians. 1837
           Treaty Journal at 146. Article 5 of the 1837 treaty provides, “The privilege of
           hunting, fishing, and gathering the wild rice, upon the lands, the rivers, and the
           lakes included in the territory ceded, is guarantied to the Indians, during the
           pleasure of the President of the United States.” Treaty with the Chippewa, July
           29, 1837, art. 5, 7 Stat. 536 (“1837 Treaty”).

           Flat Mouth was an important Chippewa Chief, treaty negotiator and signatory for the

1837 Treaty, who resided at Leech Lake. More importantly here, Flat Mouth was an important

Chippewa Chief, treaty negotiator and signatory for the 1855 Treaty as well. The Mille Lacs

Supreme Court found “the entire 1855 Treaty, in fact, is devoid of any language expressly


8
    Id. at 145.
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mentioning-much less abrogating-usufructuary rights. Similarly, the Treaty contains no

language providing money for the abrogation of previously held rights.” The Chippewas of the

Mississippi understand Flat Mouth and other signatory chiefs did not change their minds about

exercising usufructuary rights between 1837 and 1855.

       Consequently, for the Chippewas of the Mississippi, abundant, clean water is inextricably

linked to the self-sufficiency, economic development and security of present and future

generations of northern Minnesota’s tribal communities’ health and welfare. The upper

Mississippi watershed (in light blue on the map), from the Headwaters of the Mississippi River

adjacent to White Earth Reservation through the various, original 1855 reservations9 and ceded

territories through Brainerd to St. Cloud, must be recognized as one, long, continuous, first in

time, connected chain of reservations, seamlessly linked together as a common, Chippewas’ of

the Mississippi priority quality water property rights under the Winter’s Doctrine including all

the upper Mississippi watershed tributaries, lakes, aquifers, wetlands and natural resources,

reserved for the Chippewas of the Mississippi to enjoy and protect.




9
 See also Menominee Tribe v. United States, 391 U.S. 404 (1968)(the Supreme Court ruled that the
Menominee Indian Tribe kept their historical hunting and fishing rights even after the federal government
ceased to recognize the tribe.)
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       An important part of protecting Chippewa sovereign rights is our ongoing struggle to

preserve a culture that is best understood in terms of our relationship with the natural

environment. There is no economic framework that can properly define the value of manoomin

(wild rice) to the Ojibwe people because manoomin is central to Ojibwe cultural identity,

spiritual traditions, and physical well-being. Most significant is that wild rice serves as an

important indicator species to the ecology of Minnesota’s lakes and rivers and provides critical

food and habitat to both endemic and migratory species. Tribal members continue to harvest and

rely upon manoomin for religious purposes including naming ceremonies, funerals, Midewiwin

ceremonies, and various seasonal feasts. These activities are critical components in perpetuating

Anishinaabe lifeways and cultural practices, whereby the Ojibwe-Anishinaabe spiritual beliefs
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mandate the use of certain plants, animals, and fish in ceremonies attendant to hunting, fishing,

and gathering activities and these ceremonies ensure the perpetuation of the resources and the

physical, mental, and spiritual well-being of the person for bimaadiziwin “living a good life”.

       The White Earth Band of Ojibwe has given notice that the State of Minnesota lacks

unilateral authority to grant Section 401 Clean Water Act (regulatory water quality easements)

permits for Enbridge’s Line 3R pipeline activities across Tribal resources, without Chippewas of

the Mississippi’s Tribal consent. The United States understood at the beginning of land cession

treaties that the Chippewa expressly reserved “hunting, fishing, and gathering the wild rice, upon

the lands, the rivers, and the lakes included in the territory ceded” in 1837. Moreover, MPCA’s

Line 3 water quality permitting violates federal laws protecting important Tribal water rights.

Consequently, the White Earth Band formally requests a full hearing, with contested case

proceedings.

       C.      Chippewas’ Consent Required for MPCA Regulatory Easements for
               impacting Chippewa Water Property Rights.

       The recent Operation Squarehook cases like United States v Good10 in 2013

distinguished Red Lake Chippewa usufructuary property rights as “not in common” with non-

Indians, from the west coast treaty cases where some Tribal rights were “in common” with

citizens of the territory or the United States in N 4 explaining

       that inquiry was necessary in Puyallup11 because the treaty rights at issue protected
       hunting and fishing “in common with” other citizens of the territory so “any ultimate
       findings on the conservation issue must also cover the issue of equal protection implicit
       in the phrase ‘in common with.’ “Puyallup, 391 U.S. at 395, 403. Here, the treaty

10
   U.S. v Good, 2013 WL 6162801, D. Minn. Criminal No. 13-072,Nov. 25, 2013. See also U.S. v Brown,
supra from Leech Lake Reservation. Operation Squarehook included Tribal netters from White Earth,
Leech Lake and Red Lake being charged for selling fish.
11
   See Puyallup Tribe v. Dep't of Game of Wash., 391 U.S. 392, 398 (1968).
                                                   18
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       contains no language requiring the Chippewa to share their fishing rights “in common”
       with non-Indians. Rather, courts in this district have already held that the broad scope of
       the Chippewa's fishing rights precludes state regulation of tribe members’ fishing and
       hunting. Herbst, 334 F. Supp. at 1006. Thus, the Court need not engage in this third
       inquiry because the treaty language does not contemplate that the Chippewa share their
       hunting and fishing rights with non-Indians. See United States v. Bresette, 761 F. Supp.
       658, 664 (D.Minn.1991) (rejecting government’s argument that “a statute of general
       applicability may limit Indian treaty rights under Puyallup even if it is not a clear
       abrogation of those rights as required under Dion ” finding that “the court [in Puyallup ]
       interpreted the Indians' fishing rights to be in common with other groups,” and therefore
       determined that “the particular conservation measures did not exceed the Indians'
       understanding of the treaty” (emphasis omitted)). Thus, in Puyallup, the Supreme Court
       determined that the treaty did not protect the Indians' exclusive right to fish in the
       manner and mode that the state prohibited, so there was no need to consider abrogation,
       but only whether those state regulations were valid conservation measures that did not
       discriminate against Indians. Puyallup, 391 U.S. at 395–403. Here, the Court concludes
       that Defendants do have a treaty-protected right to the fishing underlying the indictment,
       but Congress has not abrogated that right. Thus, there is no need to analyze whether the
       Lacey Act or the regulations are valid nondiscriminatory conservation measures, because
       even if they were, they cannot be applied to Defendants in violation of their treaty rights.

(Emphasis in original).

       Therefore, the White Earth Band of Ojibwe and Red Lake Band of Chippewa Indians

requires written confirmation by the State of Minnesota MPCA that separate, free and prior,

informed consent (as required by the United Nations Declaration on the Rights of Indigenous

Peoples (UNDRIP)) is required by and from the Chippewas as riparian, water rights co-owners--

for considering to permit this Line 3 pipeline project regulatory easement across the ceded

territories’ natural resources and the waters that unite them. Consequently, because the MPCA’s

Line 3 water quality permitting violates federal laws protecting important Chippewa water rights,

the Red Lake Band of Chippewa Indians and White Earth Band of Ojibwe formally requests a

full hearing, with contested case proceedings on the record.




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                                     CONCLUSION

        Chippewa Tribes’ and treaty beneficiaries’ water rights are not subject to

 regulation by the MPCA and Minnesota cannot use the Clean Water Act process and state

 eminent domain to unjustly take U.S. Constitutionally and federally protected tribal

 property water rights or usurp protected tribal rights of consent. Consequently, because

 the MPCA’s Line 3 water quality permitting violates federal laws protecting important

 Chippewa water rights, the Red Lake Band of Chippewa Indians and White Earth Band

 of Ojibwe formally request a full hearing, with contested case proceedings on the record.



 Respectfully submitted April 10, 2020 by:


 /s/ Joseph Plumer                                   /s/ Frank Bibeau

 Joseph Plumer, Attorney                             Frank Bibeau, Attorney
 Red Lake Band of Chippewa Indians                   White Earth Band of Ojibwe
 9352 North Grace Lake Road                          51124 County Road 118
 Bemidji, MN 56601                                   Deer River, MN 56636
 Telephone: (218) 556-3824                           Telephone: (218) 760-1258
 Email: jplumer@paulbunyan.net                       Email: frankbibeau@gmail.com




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Senator
John Marty
                                                                                 State of Minnesota



December 3, 2020


Minnesota Public Utilities Commission
Via email


Dear Chair Sieben and Commission Members:

I write this last-minute appeal urging you to stay construction of the Line 3 replacement until
court challenges have been considered.

There is no doubt the majority of the Commission believes it is appropriate to allow the
pipeline replacement project to proceed. This is not an attempt to change your decision.

Instead, granting a stay of construction allows the PUC to acknowledge that others have
valuable perspectives and should be allowed their day in court. To date, the perspectives
of the Red Lake and White Earth Nations, who have rights to treaty lands through which
this new corridor will run, have not been taken into account. In the Certificate of Need,
the Commission omitted discussion of treaties from the order, determining that while the
ALJ report considered them, the PUC did not need to.1

Our long history of abuse and mistreatment of native communities and unwillingness to
respond to their grievances has gone on far too long. If construction is allowed to proceed at
this time, the project will be largely completed before their considerations are taken up in
court.

This is also an appeal to let other scientific perspectives represented in cases before the court
to be heard. The Commission dismissed from consideration the Administrative Law Judge’s
finding that the Line 3 replacement project would increase greenhouse gases by 193 million
tons of CO2 per year. That finding shows that the increase in greenhouse gas-emitting fuel
pumped through the new Line 3 pipeline, for use elsewhere, is greater than the greenhouse gas
emissions from the entire economy of the state of Minnesota!




1
  Footnote 18 of the September 2018 order states: “For example, the ALJ Report included a section discussing the
treaties between the federal government and the Native American sovereign nations located in Minnesota. The
Commission concludes that this discussion is not necessary to the Commission’s decision, and therefore does not
adopt these findings.”


                 2401 Minnesota Senate Bldg, St. Paul, MN 55155   (651) 296-5645 jmarty@senate.mn
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The Commission’s decision to ignore that terrible reality was based on the fact that differing
studies will come up with different estimates of climate impact. In essence, the Commission
decided that because we cannot know the precise climate impact of the pipeline, we will ignore
the entire impact. That’s akin to saying that “because we cannot accurately measure the
greenhouse gas emissions from Minnesota’s economy, we can act as if there are no greenhouse
gas emissions from Minnesota’s economy.”2

The Commission does not need to change its mind to recognize that other reasonable minds
deserve a meaningful chance to be heard in court. Without a stay, these voices will effectively
lose that opportunity before irreversible damage is done.

To use the analogy about “closing the barn door after the horse is already out of the barn,”
failure to impose a stay on construction is telling those waiting for their day in court that “the
horse isn’t just out of the barn, but is racing around the track and is now on the homestretch.”
Your failure to impose a stay will make their day in court meaningless.

For all of those with legitimate issues in court – for the Red Lake and White Earth Nations,
whose history and voices are different from yours, and for the climate issues on which
reasonable minds differ with you – please recognize that the delay is a reasonable price to pay
for getting this decision right. Please impose a stay to allow this to be reviewed in court.

Thank you,



John Marty




2
  Footnote 147 of the September 2018 order states: “But the FEIS acknowledged the limitations of the lifecycle
greenhouse gas analysis: ‘Note that there are assumptions and data limitations in the characterization of life-cycle
[greenhouse gas] emissions that vary between studies. As a result, the [greenhouse gas] emissions can differ
substantially from one study to the next. Since the studies reviewed do not consistently disclose the details of
their analysis, and often rely on proprietary models and data, a thorough assessment of the reasons for this
variability is not possible.’ FEIS at 5-466. The Commission therefore does not adopt the ALJ Report at finding
676 and those findings that rely on finding 676.” [ALJ finding 676 spells out the social cost of carbon (lifecycle
climate impact) of the project as $287 billion over 30 years.]
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                                                                              Frank Bibeau <frankbibeau@gmail.com>



Fw: Line 3 Replacement Project - Proposed Amendment to Water Appropriation for
Construction Dewatering
7 messages

Renee Keezer <Renee.Keezer@whiteearth-nsn.gov>                                                Thu, Jul 1, 2021 at 3:45 PM
To: "frankbibeau@gmail.com" <frankbibeau@gmail.com>




 From: Monica Hedstrom <Monica.Hedstrom@whiteearth-nsn.gov>
 Sent: Thursday, May 27, 2021 2:30 PM
 To: Renee Keezer <Renee.Keezer@whiteearth-nsn.gov>
 Subject: FW: Line 3 Replacement Project - Proposed Amendment to Water Appropriation for Construction
 Dewatering




 From: Doneen, Randall (DNR) <randall.doneen@state.mn.us>
 Sent: Friday, May 14, 2021 2:44 PM
 To: tgeshick@boisforte-nsn.gov; waynedupuis@fdlrez.com; samoore@boreal.org; ben.benoit@llojibwe.net;
 Katie.Draper@millelacsband.com; 'deb.dirlam@lowersioux.com' <deb.dirlam@lowersioux.com>;
 'gmiller@piic.org' <gmiller@piic.org>; Amanda Wold <amandaw@uppersiouxcommunity-nsn.gov>;
 jleblanc@redlakenation.org; Monica Hedstrom <Monica.Hedstrom@whiteearth-nsn.gov>;
 mnorthbird@mnchippewatribe.org; Darren Vogt (DVogt@1854treatyauthority.org)
 <DVogt@1854treatyauthority.org>; jcoleman@glifwc.org; tina.brown@ho-chunk.com; linda.nguyen@redcliff-
 nsn.gov; VTateyuskanskan@swo-nsn.gov; sarahs@stcroixojibwe-nsn.gov; scott.walz@shakopeedakota.org
 Cc: Harrington, Bradley (DNR) <Bradley.Harrington@state.mn.us>
 Subject: Line 3 Replacement Project - Proposed Amendment to Water Appropriation for Construction Dewatering


 CAUTION: This email originated from outside your organization. Exercise caution when opening attachments or clicking
 links, especially from unknown senders.

 Tribal Natural Resource Directors:



 The Minnesota Department of Natural Resources (DNR) wanted to let you know that we are reviewing a proposal to
 amend an existing water appropriation permit for the Line 3 pipeline replacement project. The proposed amendment
 seeks to increase the total amount of groundwater that can be temporarily dewatered from trenches along the route
 during construction. The proposed amendment would modify the volume permitted, but not the currently approved
 dewatering methods, whereby water is removed from the trench, stored, and then infiltrated back into the ground in
 close proximity to the point of each appropriation. This approach limits the duration of any potential impacts to
 groundwater levels.

 What is being requested?

 Enbridge is requesting an increase in its total permitted dewatering volume from 510.5 million gallons (MG) to 4,982
 MG, an increase of 4,472 MG. The proposed amendment also seeks an additional 1.8 MG appropriation for
 construction dewatering of a pipeline maintenance shop. In addition, 3,683 MG of the proposed increase is
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associated with additional dewatering well point systems that are used to dewater the area around the pipeline
trench. The increase in well point systems are proposed on 4 of the 5 construction spreads.

        ·   Spread 2 – 11 well point systems for an additional 700 MG
        ·   Spread 3 – 3 well point systems for an additional 2,720.7 MG
        ·   Spread 4 – 3 well point systems for an additional 25.9 MG
        ·   Spread 5 – 17 well point systems for an additional 236.7 MG


Why is Enbridge seeking this permit amendment?
The amount of dewatering needed during construction thus far has significantly exceeded what Enbridge anticipated
and requested in its original permit application. The original estimate for construction dewatering was derived from
the previous Alberta Clipper project. The alignment of the Line 3 replacement is different than the Alberta Clipper,
especially in the eastern portion or new area of the pipeline project, where the line crosses extensive peatland soil
types.
In addition, the company converted to well point systems for dewatering, rather than relying on sump pump
dewatering. The company opted to make this shift to assist in meeting construction storm water requirements, as
well point systems produce much cleaner water. While the well point systems facilitate meeting construction storm
water discharge requirements, it also results in more water being pumped.
The company also has identified a maintenance facility construction effort that will need construction dewatering.
This is not part of the corridor, but are required by the Minnesota Public Utility Commission.


What are the natural resource considerations associated with this amendment request, and how might these be
managed?
The total volume of water requested under this amendment application is large, and would be a significant increase
to the currently permitted volume. As such, one of the threshold issues to be evaluated is the implications for the
water table aquifer. The temporary nature of the water appropriation and the distribution of the volume across the
length of the route are important considerations in this evaluation. As is the case with the existing permit, there
would continue to be temporary localized drawdown of groundwater along the corridor, but any water table impacts
from this drawdown would be limited because water will be infiltrated back into the ground in close proximity to the
point of appropriation.
Another critical issue for evaluation is management of the water discharge to avoid impacts from inundation and/or
sedimentation. The Minnesota DNR and Minnesota Pollution Control Agency (MPCA) are working together to
evaluate this issue. Current approaches under consideration include:

        · Limiting discharge locations near isolated depressional wetlands and other sensitive water resources.
        · Additional measures to ensure adequate oversight of dewatering operations at the increased volume
        being sought.
        · Revisions to the Storm Water Pollution Prevention Plan that would require redundant perimeter controls
        under certain situations.

Timing for Decision
Enbridge anticipates reaching the appropriation limit of 510.5 MG under its existing permit in June. The Minnesota
DNR will likely make a decision on the water appropriation permit amendment in early June.

If you have any questions or concerns about this request you can email or call me at (651) 259-5156. Alternatively, I
am tentatively scheduling a meeting at 3 PM on Thursday May 27 if you would like to join and have more of a group
discussion. Details on meeting will be provided shortly.

Randall Doneen
CAR Section Manager
Ecological and Water Resources
Minnesota Department of Natural Resources
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frankbibeau@gmail.com <frankbibeau@gmail.com>                                                  Thu, Jul 1, 2021 at 4:03 PM
To: Renee Keezer <Renee.Keezer@whiteearth-nsn.gov>
Bcc: frankbibeau@gmail.com

 Mii gwitch Renee,
 Were you able to participate in the phone call May 27? Do we know which Indian tribes or bands participated?

 Sent from my iPhone

 Frank Bibeau
 218-760-1258


          On Jul 1, 2021, at 3:45 PM, Renee Keezer <Renee.Keezer@whiteearth-nsn.gov> wrote:



          [Quoted text hidden]




Renee Keezer <Renee.Keezer@whiteearth-nsn.gov>                                                 Thu, Jul 1, 2021 at 4:08 PM
To: "frankbibeau@gmail.com" <frankbibeau@gmail.com>

 Frank,

 I did participate on the phone call May 27th. Randall Doneen was the facilitator. Charlie Lippert from Mille
 Lacs and Wayne Dupuis from Fon Du Lac were in the meeting. There was a woman named Sue but no last
 name and someone that had their name as MCT. There weren't very many people on the meeting. Did you
 receive the other email as well?

 Renee



 From: frankbibeau@gmail.com <frankbibeau@gmail.com>
 Sent: Thursday, July 1, 2021 4:03 PM
 To: Renee Keezer <Renee.Keezer@whiteearth-nsn.gov>
 Subject: Re: Line 3 Replacement Project - Proposed Amendment to Water Appropriation for Construction Dewatering

 [Quoted text hidden]



frankbibeau@gmail.com <frankbibeau@gmail.com>                                                  Thu, Jul 1, 2021 at 4:20 PM
To: Renee Keezer <Renee.Keezer@whiteearth-nsn.gov>
Bcc: frankbibeau@gmail.com

 Yes I did. We will need to talk and have you as a witness. Was any USACE on the call?

 Sent from my iPhone

 Frank Bibeau
 218-760-1258


          On Jul 1, 2021, at 4:08 PM, Renee Keezer <Renee.Keezer@whiteearth-nsn.gov> wrote:



          [Quoted text hidden]
                 CASE 0:21-cv-01869-WMW-LIB Doc. 14-7 Filed 08/27/21 Page 95 of 105

Renee Keezer <Renee.Keezer@whiteearth-nsn.gov>                                                  Thu, Jul 1, 2021 at 4:21 PM
To: "frankbibeau@gmail.com" <frankbibeau@gmail.com>

 What is USACE?

 From: frankbibeau@gmail.com <frankbibeau@gmail.com>
 Sent: Thursday, July 1, 2021 4:20 PM
 [Quoted text hidden]

 [Quoted text hidden]



Renee Keezer <Renee.Keezer@whiteearth-nsn.gov>                                                  Thu, Jul 1, 2021 at 4:42 PM
To: "frankbibeau@gmail.com" <frankbibeau@gmail.com>

 No, there was not anyone there from the Army core of engineers and yes, I am willing to be a witness.


 Renee Keezer
 Pesticide Coordinator
 White Earth Department of Natural Resources

 Renee.Keezer@whiteearth-nsn.gov
 (218)935-2488 ext:2106


 From: frankbibeau@gmail.com <frankbibeau@gmail.com>
 Sent: Thursday, July 1, 2021 4:20 PM
 [Quoted text hidden]


 [Quoted text hidden]



frankbibeau@gmail.com <frankbibeau@gmail.com>                                                   Thu, Jul 1, 2021 at 4:47 PM
To: Renee Keezer <Renee.Keezer@whiteearth-nsn.gov>
Bcc: frankbibeau@gmail.com

 US Army corps of Engineers

 Sent from my iPhone

 Frank Bibeau
 218-760-1258


         On Jul 1, 2021, at 4:21 PM, Renee Keezer <Renee.Keezer@whiteearth-nsn.gov> wrote:



         [Quoted text hidden]
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             EXHIBIT H
             CASE 0:21-cv-01869-WMW-LIB Doc. 14-7 Filed 08/27/21 Page 97 of 105


                                                                             Frank Bibeau <frankbibeau@gmail.com>



Fw: Line 3 Construction Dewatering Permit Amendment request
1 message

Renee Keezer <Renee.Keezer@whiteearth-nsn.gov>                                              Thu, Jul 1, 2021 at 3:41 PM
To: "frankbibeau@gmail.com" <frankbibeau@gmail.com>




 From: Doneen, Randall (DNR) <randall.doneen@state.mn.us>
 Sent: Wednesday, June 9, 2021 2:53 PM
 To: Renee Keezer <Renee.Keezer@whiteearth-nsn.gov>; Charlie Lippert <Charlie.Lippert@millelacsband.com>;
 waynedupuis@fdlrez.com <waynedupuis@fdlrez.com>; mnorthbird@mnchippewatribe.org
 <mnorthbird@mnchippewatribe.org>
 Cc: Katie Draper <Katie.Draper@millelacsband.com>; Monica Hedstrom <Monica.Hedstrom@whiteearth-
 nsn.gov>; Harrington, Bradley (DNR) <Bradley.Harrington@state.mn.us>
 Subject: RE: Line 3 Construction Dewatering Permit Amendment request

 CAUTION: This email originated from outside your organization. Exercise caution when opening
 attachments or clicking links, especially from unknown senders.
 Renee,

 We actually issued the permit amendment last Friday. I have attached a copy of the amended permit and associated
 record of decision for your information. At this point there are no open comment periods. I have also attached the
 May 14, 2021 email that was sent to Tribal Natural Resource Directors providing information about the amendment
 request.

 Please let me know if you have additional questions about the amended permit.


 Randall Doneen
 CAR Section Manager
 Ecological and Water Resources
 Minnesota Department of Natural Resources




 From: Renee Keezer <Renee.Keezer@whiteearth-nsn.gov>
 Sent: Wednesday, June 9, 2021 11:30 AM
 To: Doneen, Randall (DNR) <randall.doneen@state.mn.us>; Charlie Lippert <Charlie.Lippert@
 millelacsband.com>; waynedupuis@fdlrez.com; mnorthbird@mnchippewatribe.org
 Cc: Katie Draper <Katie.Draper@millelacsband.com>; Monica Hedstrom <Monica.Hedstrom@whiteearth-
 nsn.gov>; Harrington, Bradley (DNR) <Bradley.Harrington@state.mn.us>
 Subject: Re: Line 3 Construction Dewatering Permit Amendment request

 Randall,

 Good morning,
            CASE 0:21-cv-01869-WMW-LIB Doc. 14-7 Filed 08/27/21 Page 98 of 105
I have a few questions regarding the new dewatering permit. As this is a new permit, is there going to be an
open comment period? Will there be consultation with the tribes so they may have the opportunity to
submit comment if they desire to do so? If there will be a comment period, when will it be available and for
how long?

Miigwech,

Renee Keezer

From: Doneen, Randall (DNR) <randall.doneen@state.mn.us>
Sent: Wednesday, June 2, 2021 1:50 PM
To: Charlie Lippert <Charlie.Lippert@millelacsband.com>; Renee Keezer <Renee.Keezer@whiteearth-nsn.gov>;
waynedupuis@fdlrez.com <waynedupuis@fdlrez.com>; mnorthbird@mnchippewatribe.org
<mnorthbird@mnchippewatribe.org>
Cc: Katie Draper <Katie.Draper@millelacsband.com>; Monica Hedstrom <Monica.Hedstrom@whiteearth-
nsn.gov>; Harrington, Bradley (DNR) <Bradley.Harrington@state.mn.us>
Subject: RE: Line 3 Construction Dewatering Permit Amendment request

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attachments or clicking links, especially from unknown senders.
Charlie,

Here is map of the Line 3 construction spreads. Hopefully this at a scale that is helpful.


Randall Doneen
CAR Section Manager
Ecological and Water Resources
Minnesota Department of Natural Resources




From: Charlie Lippert <Charlie.Lippert@millelacsband.com>
Sent: Wednesday, June 2, 2021 12:03 PM
To: Doneen, Randall (DNR) <randall.doneen@state.mn.us>; Renee Keezer <Renee.Keezer@whiteearth-nsn.
gov>; waynedupuis@fdlrez.com; mnorthbird@mnchippewatribe.org
Cc: Katie Draper <Katie.Draper@millelacsband.com>; Monica Hedstrom <Monica.Hedstrom@whiteearth-
nsn.gov>; Harrington, Bradley (DNR) <Bradley.Harrington@state.mn.us>
Subject: RE: Line 3 Construction Dewatering Permit Amendment request

Miigwech Randall for the Final EIS link.
Do you have the file that specifies where each of the five Spreads are? I ask since the pipeline is slated to be laid
approximately 3.6 miles from our East Lake (Minisinaakwaang) community, and approximately 3.2 miles from our
Lake Minnewawa (Minweweyaashkaang) community, which the Final EIS in Section 11.2.3 makes no such reference
since these are on off-Reservation Trust Parcels, which are—by the way—considered Reservation lands, which when
the Department of Commerce did their analysis for the PUC, they could have easily used the US Census Bureau GIS
boundary file to determine their location but didn’t. Since where these two communities of the Mille Lacs Band is in
a wetland-dominated area, knowing which Line 3’s Spread covers that area would be helpful information.
Miigwech miinawaa.
Charlie L.

From: Doneen, Randall (DNR) <randall.doneen@state.mn.us>
Sent: June 2, 2021 09:22
              CASE 0:21-cv-01869-WMW-LIB Doc. 14-7 Filed 08/27/21 Page 99 of 105
To: Renee Keezer <Renee.Keezer@whiteearth-nsn.gov>; waynedupuis@fdlrez.com; Charlie Lippert
<Charlie.Lippert@millelacsband.com>; mnorthbird@mnchippewatribe.org
Cc: Katie Draper <Katie.Draper@millelacsband.com>; Monica Hedstrom <Monica.Hedstrom@whiteearth-
nsn.gov>; Harrington, Bradley (DNR) <Bradley.Harrington@state.mn.us>
Subject: RE: Line 3 Construction Dewatering Permit Amendment request

Good morning Renee,

As you may know the Minnesota Public Utility Commission was the Responsible Governmental Unit for ensuring
Minnesota Environmental Policy Act compliance for the Line 3 Replacement project. Here is a link to the PUC
webpage for the Final EIS:

https://mn.gov/eera/web/file-list/13765/

Is there a specific natural resource concern with proposed increase that we should consider addressing? We have
focused on ensuring that the water is managed appropriately once it has been appropriated.

Thank you in advance.


Randall Doneen
CAR Section Manager
Ecological and Water Resources
Minnesota Department of Natural Resources




From: Renee Keezer <Renee.Keezer@whiteearth-nsn.gov>
Sent: Tuesday, June 1, 2021 7:08 AM
To: Doneen, Randall (DNR) <randall.doneen@state.mn.us>; waynedupuis@fdlrez.com; 'Charlie.Lippert@
millelacsband.com' <Charlie.Lippert@millelacsband.com>; mnorthbird@mnchippewatribe.org
Cc: Katie.Draper@millelacsband.com; Monica Hedstrom <Monica.Hedstrom@whiteearth-nsn.gov>; Harrington,
Bradley (DNR) <Bradley.Harrington@state.mn.us>
Subject: Re: Line 3 Construction Dewatering Permit Amendment request

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Mr. Doneen,

Would you please send me the current Environmental Impact Statement for the Line 3 construction project. I
have concerns about the proposed dewatering permits and would like to ensure that it is in compliance with
40 CFR 1508.1. The proposed amendment to the permit is a significant difference in comparison to the
original permit.

Renee Keezer


From: Doneen, Randall (DNR) <randall.doneen@state.mn.us>
Sent: Friday, May 28, 2021 2:19 PM
To: waynedupuis@fdlrez.com <waynedupuis@fdlrez.com>; 'Charlie.Lippert@millelacsband.com'
<Charlie.Lippert@millelacsband.com>; Renee Keezer <Renee.Keezer@whiteearth-nsn.gov>;
            CASE 0:21-cv-01869-WMW-LIB Doc. 14-7 Filed 08/27/21 Page 100 of 105
mnorthbird@mnchippewatribe.org <mnorthbird@mnchippewatribe.org>
Cc: Katie.Draper@millelacsband.com <Katie.Draper@millelacsband.com>; Monica Hedstrom
<Monica.Hedstrom@whiteearth-nsn.gov>; Harrington, Bradley (DNR) <Bradley.Harrington@state.mn.us>
Subject: Line 3 Construction Dewatering Permit Amendment request

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attachments or clicking links, especially from unknown senders.
Charlie, Renee, Michael and Wayne:

Thank you for taking the time to meet and discuss the proposed amendment to construction dewatering. I wanted to
circle back on Charlie’s question about infiltration rates and give you an update on some other aspects that we
discussed.

Q: What do we know about the infiltration rates in the areas where this water will be discharged?

A: As I had suspected there was not an analysis of infiltration rates for the construction stormwater discharge permit.
I did speak with MPCA staff and they provided this following description of the construction stormwater
requirements.

“– the company is not required to provide an analysis of infiltration rates in the proposed dewatering locations. The
requirement is their discharge can’t cause nuisance conditions in a surface water. The SWPPP contains various
options for dewatering based on pumping rate and expected sediment load that needs to be removed. These various
options are evaluated and selected in the field based on the SWPPP and field conditions at the time of dewatering. If
the selected option is not effective in preventing nuisance conditions, the company needs to move up to the next
higher level of treatment/dewatering method.”

In addition the Project’s Environmental Protection Plan (EPP) describes the factors that are considered for
constructing and operating dewatering systems. The EPP was too large to attach to this email, but here is an excerpt
from Section 5.0 of the EPP that identifies soil type as a factor that is considered when siting and operating these
systems:

1. Water Discharge Setting – This includes:
a. Soil Type – The soil type the discharged water will flow over. The management of
discharged water traveling over sandy soil is more likely to soak into the ground as
compared to clay soils.
b. Ground Surface – The topography in the area that will influence the surface flow of the
discharged water.
c. Adjustable Discharge rate – The flow rate of the discharged water (which may need to
vary) can be managed based on the site conditions to minimize instances of water
from reaching a sensitive resource area such as a wetland or waterbody.
d. Discharge Outfall – The amount of hose and number/size of pumps needed to attempt
to discharge water at a location which drains away from waterbodies or wetlands.


I would also like to report MPCA has reviewed the revised SWPPP and has verified that it contains the requirement for
additional perimeter controls if there is potential for discharges to reach wetlands or surface water. It sounds like
there are still some details to get worked out before the plan is finalized, but it does address the important topic that
was identified.

DNR is meeting with MPCA and Enbridge in the next couple of days to discuss the company’s efforts to avoid isolated
depressional wetlands and other surface waters.

Last but not least, it appears that we may be in a position to issue a decision on this request late next week. With that
in mind, please get any additional questions or items to consider as soon as you can next week.
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Randall Doneen
CAR Section Manager
Ecological and Water Resources
Minnesota Department of Natural Resources



---------- Forwarded message ----------
From: "Doneen, Randall (DNR)" <randall.doneen@state.mn.us>
To: "tgeshick@boisforte-nsn.gov" <tgeshick@boisforte-nsn.gov>, "waynedupuis@fdlrez.com"
<waynedupuis@fdlrez.com>, "samoore@boreal.org" <samoore@boreal.org>, "ben.benoit@llojibwe.net"
<ben.benoit@llojibwe.net>, "Katie.Draper@millelacsband.com" <Katie.Draper@millelacsband.com>,
"'deb.dirlam@lowersioux.com'" <deb.dirlam@lowersioux.com>, "'gmiller@piic.org'" <gmiller@piic.org>, Amanda Wold
<amandaw@uppersiouxcommunity-nsn.gov>, "jleblanc@redlakenation.org" <jleblanc@redlakenation.org>,
"monica.hedstrom@whiteearth-nsn.gov" <monica.hedstrom@whiteearth-nsn.gov>, "mnorthbird@mnchippewatribe.org"
<mnorthbird@mnchippewatribe.org>, "Darren Vogt (DVogt@1854treatyauthority.org)" <DVogt@1854treatyauthority.org>,
"jcoleman@glifwc.org" <jcoleman@glifwc.org>, "tina.brown@ho-chunk.com" <tina.brown@ho-chunk.com>,
"linda.nguyen@redcliff-nsn.gov" <linda.nguyen@redcliff-nsn.gov>, "VTateyuskanskan@swo-nsn.gov"
<VTateyuskanskan@swo-nsn.gov>, "sarahs@stcroixojibwe-nsn.gov" <sarahs@stcroixojibwe-nsn.gov>,
"scott.walz@shakopeedakota.org" <scott.walz@shakopeedakota.org>
Cc: "Harrington, Bradley (DNR)" <Bradley.Harrington@state.mn.us>
Bcc:
Date: Fri, 14 May 2021 19:43:45 +0000
Subject: Line 3 Replacement Project - Proposed Amendment to Water Appropriation for Construction Dewatering

Tribal Natural Resource Directors:




The Minnesota Department of Natural Resources (DNR) wanted to let you know that we are reviewing a proposal to
amend an existing water appropriation permit for the Line 3 pipeline replacement project. The proposed amendment
seeks to increase the total amount of groundwater that can be temporarily dewatered from trenches along the route
during construction. The proposed amendment would modify the volume permitted, but not the currently approved
dewatering methods, whereby water is removed from the trench, stored, and then infiltrated back into the ground in close
proximity to the point of each appropriation. This approach limits the duration of any potential impacts to groundwater
levels.



What is being requested?



Enbridge is requesting an increase in its total permitted dewatering volume from 510.5 million gallons (MG) to 4,982 MG,
an increase of 4,472 MG. The proposed amendment also seeks an additional 1.8 MG appropriation for construction
dewatering of a pipeline maintenance shop. In addition, 3,683 MG of the proposed increase is associated with additional
dewatering well point systems that are used to dewater the area around the pipeline trench. The increase in well point
systems are proposed on 4 of the 5 construction spreads.

·   Spread 2 – 11 well point systems for an additional 700 MG

·   Spread 3 – 3 well point systems for an additional 2,720.7 MG

·   Spread 4 – 3 well point systems for an additional 25.9 MG

·   Spread 5 – 17 well point systems for an additional 236.7 MG

Why is Enbridge seeking this permit amendment?

The amount of dewatering needed during construction thus far has significantly exceeded what Enbridge anticipated and
requested in its original permit application. The original estimate for construction dewatering was derived from the
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previous Alberta Clipper project. The alignment of the Line 3 replacement is different than the Alberta Clipper, especially
in the eastern portion or new area of the pipeline project, where the line crosses extensive peatland soil types.

In addition, the company converted to well point systems for dewatering, rather than relying on sump pump dewatering.
The company opted to make this shift to assist in meeting construction storm water requirements, as well point systems
produce much cleaner water. While the well point systems facilitate meeting construction storm water discharge
requirements, it also results in more water being pumped.

The company also has identified a maintenance facility construction effort that will need construction dewatering. This is
not part of the corridor, but are required by the Minnesota Public Utility Commission.

What are the natural resource considerations associated with this amendment request, and how
might these be managed?

The total volume of water requested under this amendment application is large, and would be a significant increase to the
currently permitted volume. As such, one of the threshold issues to be evaluated is the implications for the water table
aquifer. The temporary nature of the water appropriation and the distribution of the volume across the length of the route
are important considerations in this evaluation. As is the case with the existing permit, there would continue to be
temporary localized drawdown of groundwater along the corridor, but any water table impacts from this drawdown would
be limited because water will be infiltrated back into the ground in close proximity to the point of appropriation.

Another critical issue for evaluation is management of the water discharge to avoid impacts from inundation and/or
sedimentation. The Minnesota DNR and Minnesota Pollution Control Agency (MPCA) are working together to evaluate
this issue. Current approaches under consideration include:

·   Limiting discharge locations near isolated depressional wetlands and other sensitive water resources.

·   Additional measures to ensure adequate oversight of dewatering operations at the increased volume being sought.

·    Revisions to the Storm Water Pollution Prevention Plan that would require redundant perimeter controls under
certain situations.

Timing for Decision

Enbridge anticipates reaching the appropriation limit of 510.5 MG under its existing permit in June. The Minnesota DNR
will likely make a decision on the water appropriation permit amendment in early June.



If you have any questions or concerns about this request you can email or call me at (651) 259-5156. Alternatively, I am
tentatively scheduling a meeting at 3 PM on Thursday May 27 if you would like to join and have more of a group
discussion. Details on meeting will be provided shortly.



Randall Doneen

CAR Section Manager

Ecological and Water Resources

Minnesota Department of Natural Resources




3 attachments
     2021-06-04-2018-3420_88164_permit_issued.pdf
     199K
     2021-06-04-Line3-2018-3420Amendment-FOF.pdf
     547K
     Line 3 Replacement Project - Proposed Amendment to Water Appropriation for Construction
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Dewatering.eml
24K
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               EXHIBIT I
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July 6, 2021

Mr. Frank Bibeau
Executive Director
1855 Treaty Authority
PO Box 418
White Earth, MN 56591


Dear Mr. Bibeau:

Thank you for your correspondence dated June 1, 2021 (White Earth off reservation tribal court
And Chippewa treaty protected uses of public lands) and June 7, 2021 (Protection of wild rice,
wild rice waters of the Chippewas’ of the Mississippi; Shell River and Rights of Manoomin).
We appreciate the interest of the 1855 Treaty Authority in the issues raised in your letters.

Consistent with Governor Walz’s Executive Order 19-24 and the long-standing practice of the
Minnesota Department of Natural Resources, we would welcome the opportunity for
government-to-government consultation with the White Earth Nation, Leech Lake Band of
Ojibwe, and/or Mille Lacs Band of Ojibwe on the issues you have raised, upon the request of the
relevant tribal council(s).

Sincerely,




Sarah Strommen
Commissioner




Minnesota Department of Natural Resources | Commissioner’s Office                     Equal Opportunity Employer
500 Lafayette Road North, St. Paul, Minnesota 55155                 This material is available in alternate formats.
www.dnr.state.mn.us
